                                   Case 16-20597-AJC                     Doc 1    Filed 07/29/16              Page 1 of 107                           7/29/16 3:04PM




Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF FLORIDA

Case number (if known)                                                        Chapter you are filing under:

                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                        Check if this an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                      12/15
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Julio                                                            Rosalba
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's        Cesar
     license or passport).         Middle name                                                      Middle name
     Bring your picture
     identification to your
                                   Arroyo                                                           Arroyo
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years Julio C Arroyo
                                   Julio Arroyo
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-4619                                                      xxx-xx-2863
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                   page 1
                                 Case 16-20597-AJC                   Doc 1         Filed 07/29/16        Page 2 of 107                             7/29/16 3:04PM

Debtor 1   Julio Cesar Arroyo
Debtor 2   Rosalba Arroyo                                                                             Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 4855 SW 152 Ct Unit F
                                 Miami, FL 33185
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Miami-Dade
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any               have lived in this district longer than in any other
                                        other district.                                                district.

                                        I have another reason.                                         I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 2
                                 Case 16-20597-AJC                    Doc 1        Filed 07/29/16            Page 3 of 107                           7/29/16 3:04PM

Debtor 1    Julio Cesar Arroyo
Debtor 2    Rosalba Arroyo                                                                                Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you and do you want to stay in your residence?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with this
                                                         bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
                                   Case 16-20597-AJC                  Doc 1        Filed 07/29/16              Page 4 of 107                      7/29/16 3:04PM

Debtor 1    Julio Cesar Arroyo
Debtor 2    Rosalba Arroyo                                                                                 Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                               Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
                                     Case 16-20597-AJC                  Doc 1         Filed 07/29/16       Page 5 of 107                            7/29/16 3:04PM

Debtor 1    Julio Cesar Arroyo
Debtor 2    Rosalba Arroyo                                                                             Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
                                 Case 16-20597-AJC                   Doc 1        Filed 07/29/16             Page 6 of 107                             7/29/16 3:04PM

Debtor 1    Julio Cesar Arroyo
Debtor 2    Rosalba Arroyo                                                                                Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.       Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                               individual primarily for a personal, family, or household purpose.”
                                               No. Go to line 16b.

                                               Yes. Go to line 17.
                                 16b.       Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                            money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.
                                               Yes. Go to line 17.
                                 16c.       State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.     I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.    I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                       are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you           50-99                                            5001-10,000                                   50,001-100,000
    owe?
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to                                                          $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?                       $50,001 - $100,000
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities                                                        $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    to be?                          $50,001 - $100,000
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Julio Cesar Arroyo                                            /s/ Rosalba Arroyo
                                 Julio Cesar Arroyo                                                Rosalba Arroyo
                                 Signature of Debtor 1                                             Signature of Debtor 2

                                 Executed on     July 29, 2016                                     Executed on     July 29, 2016
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 6
                                Case 16-20597-AJC                        Doc 1   Filed 07/29/16              Page 7 of 107                          7/29/16 3:04PM

Debtor 1   Julio Cesar Arroyo
Debtor 2   Rosalba Arroyo                                                                                 Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Timothy S. Kingcade                                            Date         July 29, 2016
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Timothy S. Kingcade
                                Printed name

                                Kingcade, Garcia & McMaken, P.A.
                                Firm name

                                1370 Coral Way
                                Miami, FL 33145
                                Number, Street, City, State & ZIP Code

                                Contact phone     305-285-9100                               Email address         scanner@miamibankruptcy.com

                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
                                         Case 16-20597-AJC                          Doc 1            Filed 07/29/16                    Page 8 of 107                             7/29/16 3:04PM


 Fill in this information to identify your case:

 Debtor 1                   Julio Cesar Arroyo
                            First Name                           Middle Name                          Last Name

 Debtor 2                   Rosalba Arroyo
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  SOUTHERN DISTRICT OF FLORIDA

 Case number
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $                      0.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              20,973.81

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $              20,973.81

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $                8,898.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $              59,141.00


                                                                                                                                     Your total liabilities $                68,039.00


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                3,616.50

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                3,739.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                                     Best Case Bankruptcy
                                    Case 16-20597-AJC                 Doc 1       Filed 07/29/16              Page 9 of 107               7/29/16 3:04PM

 Debtor 1      Julio Cesar Arroyo
 Debtor 2      Rosalba Arroyo                                                             Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $       4,927.50


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

       9d. Student loans. (Copy line 6f.)                                                                 $              0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $              0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 0.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information               page 2 of 2
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                  Best Case Bankruptcy
                                     Case 16-20597-AJC                          Doc 1       Filed 07/29/16      Page 10 of 107                           7/29/16 3:04PM


 Fill in this information to identify your case and this filing:

 Debtor 1                   Julio Cesar Arroyo
                            First Name                      Middle Name                       Last Name

 Debtor 2                   Rosalba Arroyo
 (Spouse, if filing)        First Name                      Middle Name                       Last Name


 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF FLORIDA

 Case number                                                                                                                                    Check if this is an
                                                                                                                                                amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                     12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
        Yes. Where is the property?

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1      Make:       Scion                                   Who has an interest in the property? Check one     Do not deduct secured claims or exemptions. Put
                                                                                                                  the amount of any secured claims on Schedule D:
           Model:      XB 4D Wagon                                   Debtor 1 only                                Creditors Who Have Claims Secured by Property.
           Year:       2008                                          Debtor 2 only                                Current value of the      Current value of the
           Approximate mileage:                85,138                Debtor 1 and Debtor 2 only                   entire property?          portion you own?
           Other information:                                        At least one of the debtors and another
          Value Based on CarMax
          Appraisal                                                  Check if this is community property                   $3,000.00                   $3,000.00
                                                                     (see instructions)



  3.2      Make:    Nissan                                     Who has an interest in the property? Check one     Do not deduct secured claims or exemptions. Put
                                                                                                                  the amount of any secured claims on Schedule D:
           Model:   Altima S Sedan 4D                                Debtor 1 only                                Creditors Who Have Claims Secured by Property.
           Year:    2010                                             Debtor 2 only
                                                                                                                  Current value of the      Current value of the
           Approximate mileage:     79,242                           Debtor 1 and Debtor 2 only                   entire property?          portion you own?
           Other information:                                        At least one of the debtors and another
          Value Based on CarMax
          Appraisal                                                  Check if this is community property                   $5,500.00                   $5,500.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes




Official Form 106A/B                                                         Schedule A/B: Property                                                           page 1
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                                   Case 16-20597-AJC                       Doc 1          Filed 07/29/16                 Page 11 of 107                       7/29/16 3:04PM

 Debtor 1       Julio Cesar Arroyo
 Debtor 2       Rosalba Arroyo                                                                                      Case number (if known)


 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>            $8,500.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                              Current value of the
                                                                                                                                                portion you own?
                                                                                                                                                Do not deduct secured
                                                                                                                                                claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    Misc. Household Goods and Furnishings
                                    Based on Inventory list                                                                                                  $1,090.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    Misc. Electronics
                                    Based on Inventory list                                                                                                  $1,160.00


                                    1 Computer, 2 gaming systems
                                    Secured with Synch/brandsmart for $8,898
                                    (including other items, no longer in possession of Debtors)
                                    To Be Redeemed                                                                                                             $600.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
        No
        Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                    Misc. Clothing                                                                                                             $200.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

Official Form 106A/B                                                   Schedule A/B: Property                                                                      page 2
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                                          Case 16-20597-AJC                                     Doc 1               Filed 07/29/16      Page 12 of 107                      7/29/16 3:04PM

 Debtor 1         Julio Cesar Arroyo
 Debtor 2         Rosalba Arroyo                                                                                                     Case number (if known)


                                            Misc. Jewelry
                                            Based on Inventory list                                                                                                          $200.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
        Yes. Describe.....

                                            1 dog (mixed)                                                                                                                      $25.00


14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                                 $3,275.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                                  Current value of the
                                                                                                                                                              portion you own?
                                                                                                                                                              Do not deduct secured
                                                                                                                                                              claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
        Yes................................................................................................................

                                                                                                                                        Cash on hand                           $10.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:

                                                                                                  Wells Fargo Checking Acct #3627
                                              17.1.                                               (account was opened 02/24/16)                                            $1,000.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
        No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                                    % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:



Official Form 106A/B                                                                       Schedule A/B: Property                                                                page 3
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                                    Best Case Bankruptcy
                                   Case 16-20597-AJC                    Doc 1       Filed 07/29/16           Page 13 of 107                        7/29/16 3:04PM

 Debtor 1        Julio Cesar Arroyo
 Debtor 2        Rosalba Arroyo                                                                          Case number (if known)

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
        Yes. List each account separately.
                                Type of account:                         Institution name:

                                                                         403 (b)
                                                                         Valic                                                                        $58.22


                                                                         403 (b)
                                                                         Transamerica                                                             $8,130.59


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
      No
      Yes. .....................                              Institution name or individual:


                                                                         Rent Security Deposit: $1,300                                                  $0.00
                                                                         In Possession of Landlord: Roxana M
                                                                         Labrada
                                                                         Landlord has a Possessory Lien


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............        Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............        Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                      Current value of the
                                                                                                                                     portion you own?
                                                                                                                                     Do not deduct secured
                                                                                                                                     claims or exemptions.

28. Tax refunds owed to you
      No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



                                                         2015 Income Tax Refund
                                                             Debtors received and spent tax refund                                                      $0.00



Official Form 106A/B                                                 Schedule A/B: Property                                                             page 4
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy
                                      Case 16-20597-AJC                             Doc 1           Filed 07/29/16                    Page 14 of 107                        7/29/16 3:04PM

 Debtor 1        Julio Cesar Arroyo
 Debtor 2        Rosalba Arroyo                                                                                                  Case number (if known)

29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                                        Beneficiary:                             Surrender or refund
                                                                                                                                                               value:

                                             Debtors do not have Life Insurance
                                             policy                                                                                                                              $0.00


                                             Debtors have Health Insurance thru
                                             employer                                                                                                                            $0.00


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................           $9,198.81


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.
Official Form 106A/B                                                           Schedule A/B: Property                                                                            page 5
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                                    Best Case Bankruptcy
                                       Case 16-20597-AJC                                Doc 1            Filed 07/29/16                      Page 15 of 107                7/29/16 3:04PM

 Debtor 1         Julio Cesar Arroyo
 Debtor 2         Rosalba Arroyo                                                                                                        Case number (if known)



 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                  $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................                  $0.00
 56. Part 2: Total vehicles, line 5                                                                             $8,500.00
 57. Part 3: Total personal and household items, line 15                                                        $3,275.00
 58. Part 4: Total financial assets, line 36                                                                    $9,198.81
 59. Part 5: Total business-related property, line 45                                                               $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                      $0.00
 61. Part 7: Total other property not listed, line 54                                             +                 $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $20,973.81              Copy personal property total      $20,973.81

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                    $20,973.81




Official Form 106A/B                                                               Schedule A/B: Property                                                                       page 6
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                                   Best Case Bankruptcy
                                   Case 16-20597-AJC                       Doc 1       Filed 07/29/16             Page 16 of 107                          7/29/16 3:04PM


 Fill in this information to identify your case:

 Debtor 1                 Julio Cesar Arroyo
                          First Name                        Middle Name                 Last Name

 Debtor 2                 Rosalba Arroyo
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF FLORIDA

 Case number
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      2008 Scion XB 4D Wagon 85,138                                   $3,000.00                                  $1,000.00     Fla. Stat. Ann. § 222.25(1)
      miles
      Value Based on CarMax Appraisal                                                      100% of fair market value, up to
      Line from Schedule A/B: 3.1                                                          any applicable statutory limit

      2008 Scion XB 4D Wagon 85,138                                   $3,000.00                                  $2,000.00     Fla. Stat. Ann. § 222.25(4)
      miles
      Value Based on CarMax Appraisal                                                      100% of fair market value, up to
      Line from Schedule A/B: 3.1                                                          any applicable statutory limit

      2010 Nissan Altima S Sedan 4D                                   $5,500.00                                  $1,000.00     Fla. Stat. Ann. § 222.25(1)
      79,242 miles
      Value Based on CarMax Appraisal                                                      100% of fair market value, up to
      Line from Schedule A/B: 3.2                                                          any applicable statutory limit

      2010 Nissan Altima S Sedan 4D                                   $5,500.00                                  $4,500.00     Fla. Stat. Ann. § 222.25(4)
      79,242 miles
      Value Based on CarMax Appraisal                                                      100% of fair market value, up to
      Line from Schedule A/B: 3.2                                                          any applicable statutory limit

      Misc. Household Goods and                                       $1,090.00                                  $1,090.00     Fla. Const. art. X, § 4(a)(2)
      Furnishings
      Based on Inventory list                                                              100% of fair market value, up to
      Line from Schedule A/B: 6.1                                                          any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 2
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
                                   Case 16-20597-AJC                       Doc 1       Filed 07/29/16             Page 17 of 107                             7/29/16 3:04PM

 Debtor 1    Julio Cesar Arroyo
 Debtor 2    Rosalba Arroyo                                                                              Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Misc. Electronics                                                $1,160.00                                    $910.00        Fla. Const. art. X, § 4(a)(2)
     Based on Inventory list
     Line from Schedule A/B: 7.1                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     403 (b)                                                              $58.22                                    $58.22        Fla. Stat. Ann. § 222.21(2)
     Valic
     Line from Schedule A/B: 21.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     403 (b)                                                          $8,130.59                                  $8,130.59        Fla. Stat. Ann. § 222.21(2)
     Transamerica
     Line from Schedule A/B: 21.2                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 2
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                                      Case 16-20597-AJC                     Doc 1           Filed 07/29/16            Page 18 of 107                             7/29/16 3:04PM


 Fill in this information to identify your case:

 Debtor 1                   Julio Cesar Arroyo
                            First Name                      Middle Name                      Last Name

 Debtor 2                   Rosalba Arroyo
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF FLORIDA

 Case number
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Syncb/brandsmart                         Describe the property that secures the claim:                   $6,552.00                   $600.00          $5,952.00
         Creditor's Name                          1 Computer, 2 gaming systems
                                                  Secured with Synch/brandsmart for
                                                  $8,898
                                                  (including other items, no longer in
                                                  possession of Debtors)
                                                  To Be Redeemed
                                                  As of the date you file, the claim is: Check all that
         Po Box 965036                            apply.
         Orlando, FL 32896                            Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
     Debtor 2 only
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)   Non-Purchase Money Security
       community debt

                                 Opened
                                 08/12 Last
                                 Active
 Date debt was incurred          6/21/16                   Last 4 digits of account number        0864


 2.2     Syncb/brandsmart                         Describe the property that secures the claim:                   $2,346.00                   $600.00          $2,346.00
         Creditor's Name                          1 Computer, 2 gaming systems
                                                  Secured with Synch/brandsmart for
                                                  $8,898
                                                  (including other items, no longer in
                                                  possession of Debtors)
                                                  To Be Redeemed
                                                  As of the date you file, the claim is: Check all that
         Po Box 965036                            apply.
         Orlando, FL 32896                            Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.

Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 2
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
                                   Case 16-20597-AJC                        Doc 1           Filed 07/29/16             Page 19 of 107                       7/29/16 3:04PM



 Debtor 1 Julio Cesar Arroyo                                                                               Case number (if know)
              First Name                Middle Name                      Last Name
 Debtor 2 Rosalba Arroyo
              First Name                Middle Name                      Last Name



    Debtor 1 only                                     An agreement you made (such as mortgage or secured
                                                       car loan)
    Debtor 2 only
    Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another           Judgment lien from a lawsuit
    Check if this claim relates to a                  Other (including a right to offset)   Non-Purchase Money Security
    community debt

                              Opened
                              12/13 Last
                              Active
 Date debt was incurred       6/21/16                     Last 4 digits of account number         1533



   Add the dollar value of your entries in Column A on this page. Write that number here:                                  $8,898.00
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                 $8,898.00

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                           page 2 of 2
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
                                     Case 16-20597-AJC                       Doc 1           Filed 07/29/16                Page 20 of 107                                   7/29/16 3:04PM


 Fill in this information to identify your case:

 Debtor 1                   Julio Cesar Arroyo
                            First Name                      Middle Name                       Last Name

 Debtor 2                   Rosalba Arroyo
 (Spouse if, filing)        First Name                      Middle Name                       Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF FLORIDA

 Case number
 (if known)                                                                                                                                               Check if this is an
                                                                                                                                                          amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?

           No. Go to Part 2.
           Yes.
 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

           No. You have nothing to report in this part. Submit this form to the court with your other schedules.

           Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

 4.1          Amex                                                    Last 4 digits of account number         1391                                                              $1.00
              Nonpriority Creditor's Name
                                                                                                              Opened 05/06 Last Active
              P.o. Box 981537                                         When was the debt incurred?             7/06/07
              El Paso, TX 79998
              Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only                                           Contingent

                  Debtor 2 only                                           Unliquidated
                  Debtor 1 and Debtor 2 only                              Disputed
                  At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                  Student loans
              debt                                                       Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims

                  No                                                      Debts to pension or profit-sharing plans, and other similar debts

                                                                                           Credit Card
                  Yes                                                     Other. Specify   $0 Balance on Credit Report




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 1 of 47
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                              51270                                                Best Case Bankruptcy
                                   Case 16-20597-AJC                        Doc 1         Filed 07/29/16                Page 21 of 107                        7/29/16 3:04PM

 Debtor 1 Julio Cesar Arroyo
 Debtor 2 Rosalba Arroyo                                                                                  Case number (if know)

 4.2      Bank Of America                                            Last 4 digits of account number       7323                                             $3,960.00
          Nonpriority Creditor's Name
                                                                                                           Opened 05/14 Last Active
          Po Box 982238                                              When was the debt incurred?           5/28/16
          El Paso, TX 79998
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.3      Bank Of America                                            Last 4 digits of account number       4871                                             $2,801.00
          Nonpriority Creditor's Name
                                                                                                           Opened 09/07 Last Active
          Po Box 982238                                              When was the debt incurred?           6/16/16
          El Paso, TX 79998
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.4      Bank Of America                                            Last 4 digits of account number       0935                                             $2,657.00
          Nonpriority Creditor's Name
                                                                                                           Opened 12/13 Last Active
          Po Box 982238                                              When was the debt incurred?           5/28/16
          El Paso, TX 79998
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 2 of 47
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                                   Case 16-20597-AJC                        Doc 1         Filed 07/29/16                Page 22 of 107                        7/29/16 3:04PM

 Debtor 1 Julio Cesar Arroyo
 Debtor 2 Rosalba Arroyo                                                                                  Case number (if know)

 4.5      Bank Of America                                            Last 4 digits of account number       7310                                                   $1.00
          Nonpriority Creditor's Name
                                                                                                           Opened 06/12 Last Active
          Po Box 982238                                              When was the debt incurred?           3/28/13
          El Paso, TX 79998
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Credit Card
              Yes                                                       Other. Specify   $0 Balance on Credit Report


 4.6      Barclays Bank Delaware                                     Last 4 digits of account number       5766                                             $1,013.00
          Nonpriority Creditor's Name
                                                                                                           Opened 10/14 Last Active
          Po Box 8803                                                When was the debt incurred?           6/07/16
          Wilmington, DE 19899
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.7      Barclays Bank Delaware                                     Last 4 digits of account number       4799                                                   $1.00
          Nonpriority Creditor's Name
                                                                                                           Opened 2/02/14 Last Active
          Po Box 8803                                                When was the debt incurred?           10/20/14
          Wilmington, DE 19899
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Credit Card
              Yes                                                       Other. Specify   $0 Balance on Credit Report




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 3 of 47
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                                   Case 16-20597-AJC                        Doc 1         Filed 07/29/16                Page 23 of 107                        7/29/16 3:04PM

 Debtor 1 Julio Cesar Arroyo
 Debtor 2 Rosalba Arroyo                                                                                  Case number (if know)

 4.8      Cap1/biglt                                                 Last 4 digits of account number       7671                                                   $1.00
          Nonpriority Creditor's Name
                                                                                                           Opened 12/14/05 Last Active
          Po Box 703                                                 When was the debt incurred?           1/19/08
          Wood Dale, IL 60191
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Charge Account
              Yes                                                       Other. Specify   $0 Balance on Credit Report


 4.9      Cap1/bstby                                                 Last 4 digits of account number       5670                                             $2,780.00
          Nonpriority Creditor's Name
                                                                                                           Opened 06/05 Last Active
          Po Box 30253                                               When was the debt incurred?           6/09/16
          Salt Lake City, UT 84130
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account


 4.1
 0        Capital One                                                Last 4 digits of account number       4472                                               $671.00
          Nonpriority Creditor's Name
                                                                                                           Opened 04/06 Last Active
          15000 Capital One Dr                                       When was the debt incurred?           6/18/16
          Richmond, VA 23238
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 4 of 47
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                                   Case 16-20597-AJC                        Doc 1         Filed 07/29/16                Page 24 of 107                        7/29/16 3:04PM

 Debtor 1 Julio Cesar Arroyo
 Debtor 2 Rosalba Arroyo                                                                                  Case number (if know)

 4.1
 1        Capital One                                                Last 4 digits of account number       5606                                                   $1.00
          Nonpriority Creditor's Name
                                                                                                           Opened 02/12 Last Active
          15000 Capital One Dr                                       When was the debt incurred?           3/05/14
          Richmond, VA 23238
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Credit Card
              Yes                                                       Other. Specify   $0 Balance on Credit Report


 4.1
 2        Capital One                                                Last 4 digits of account number       5942                                                   $1.00
          Nonpriority Creditor's Name
                                                                                                           Opened 05/12 Last Active
          15000 Capital One Dr                                       When was the debt incurred?           4/11/13
          Richmond, VA 23238
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Credit Card
              Yes                                                       Other. Specify   $0 Balance on Credit Report


 4.1
 3        Chase Card Services                                        Last 4 digits of account number       8730                                             $1,305.00
          Nonpriority Creditor's Name
                                                                                                           Opened 08/06 Last Active
          Po Box 15298                                               When was the debt incurred?           6/19/16
          Wilmington, DE 19850
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 5 of 47
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                                   Case 16-20597-AJC                        Doc 1         Filed 07/29/16                Page 25 of 107                        7/29/16 3:04PM

 Debtor 1 Julio Cesar Arroyo
 Debtor 2 Rosalba Arroyo                                                                                  Case number (if know)

 4.1
 4        Checksystems                                               Last 4 digits of account number       4619                                                   $0.00
          Nonpriority Creditor's Name
          7805 Hudson Rd                                             When was the debt incurred?
          Saint Paul, MN 55125
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice Only


 4.1
 5        Checksystems                                               Last 4 digits of account number       2863                                                   $0.00
          Nonpriority Creditor's Name
          7805 Hudson Rd                                             When was the debt incurred?
          Saint Paul, MN 55125
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice Only


 4.1
 6        Child Support Enforcement                                  Last 4 digits of account number       4619                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 8030                                                When was the debt incurred?
          Tallahassee, FL 32314
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice Only




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 6 of 47
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                                   Case 16-20597-AJC                        Doc 1         Filed 07/29/16                Page 26 of 107                        7/29/16 3:04PM

 Debtor 1 Julio Cesar Arroyo
 Debtor 2 Rosalba Arroyo                                                                                  Case number (if know)

 4.1
 7        Child Support Enforcemment                                 Last 4 digits of account number       2863                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 8030                                                When was the debt incurred?
          Tallahassee, FL 32314
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice Only


 4.1
 8        Citibank / Sears                                           Last 4 digits of account number       7806                                               $508.00
          Nonpriority Creditor's Name
                                                                                                           Opened 12/15 Last Active
          Po Box 6282                                                When was the debt incurred?           5/29/16
          Sioux Falls, SD 57117
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.1
 9        Citibank / Sears                                           Last 4 digits of account number       5449                                               $345.00
          Nonpriority Creditor's Name
                                                                                                           Opened 10/14 Last Active
          Po Box 6282                                                When was the debt incurred?           6/06/16
          Sioux Falls, SD 57117
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 7 of 47
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                                   Case 16-20597-AJC                        Doc 1         Filed 07/29/16                Page 27 of 107                        7/29/16 3:04PM

 Debtor 1 Julio Cesar Arroyo
 Debtor 2 Rosalba Arroyo                                                                                  Case number (if know)

 4.2
 0        Citibank Sears                                             Last 4 digits of account number       1256                                             $1,019.00
          Nonpriority Creditor's Name
                                                                                                           Opened 05/15 Last Active
          Po Box 6189                                                When was the debt incurred?           6/11/16
          Sioux Falls, SD 57117
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account


 4.2
 1        Citibank Sears                                             Last 4 digits of account number       5414                                               $469.00
          Nonpriority Creditor's Name
                                                                                                           Opened 02/16 Last Active
          Po Box 6189                                                When was the debt incurred?           6/05/16
          Sioux Falls, SD 57117
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account


 4.2
 2        Citibank/Best Buy                                          Last 4 digits of account number       6685                                             $2,098.00
          Nonpriority Creditor's Name
                                                                                                           Opened 05/14 Last Active
          50 Northwest Point Road                                    When was the debt incurred?           6/18/16
          Elk Grove Village, IL 60007
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 8 of 47
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                                   Case 16-20597-AJC                        Doc 1         Filed 07/29/16                Page 28 of 107                        7/29/16 3:04PM

 Debtor 1 Julio Cesar Arroyo
 Debtor 2 Rosalba Arroyo                                                                                  Case number (if know)

 4.2
 3        Citibank/Best Buy                                          Last 4 digits of account number       6202                                             $1,834.00
          Nonpriority Creditor's Name
                                                                                                           Opened 06/15 Last Active
          Pob 6241                                                   When was the debt incurred?           6/14/16
          Sioux Falls, SD 57117
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.2
 4        Citibank/Best Buy                                          Last 4 digits of account number       4381                                               $682.00
          Nonpriority Creditor's Name
                                                                                                           Opened 07/15 Last Active
          50 Northwest Point Road                                    When was the debt incurred?           6/18/16
          Elk Grove Village, IL 60007
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account


 4.2
 5        Citibank/Best Buy                                          Last 4 digits of account number       9075                                                   $1.00
          Nonpriority Creditor's Name
                                                                                                           Opened 3/17/12 Last Active
          Po Box 30253                                               When was the debt incurred?           7/22/13
          Salt Lake City, UT 84130
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Charge Account
              Yes                                                       Other. Specify   $0 Balance on Credit Report




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 9 of 47
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                                   Case 16-20597-AJC                        Doc 1         Filed 07/29/16                Page 29 of 107                        7/29/16 3:04PM

 Debtor 1 Julio Cesar Arroyo
 Debtor 2 Rosalba Arroyo                                                                                  Case number (if know)

 4.2
 6        Citibank/Exxon Mobile                                      Last 4 digits of account number       6159                                                   $1.00
          Nonpriority Creditor's Name
                                                                                                           Opened 9/04/08 Last Active
          Po Box 6497                                                When was the debt incurred?           2/04/10
          Sioux Falls, SD 57117
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Credit Card
              Yes                                                       Other. Specify   $0 Balance on Credit Report


 4.2
 7        Citibank/The Home Depot                                    Last 4 digits of account number       7100                                             $2,575.00
          Nonpriority Creditor's Name
                                                                                                           Opened 09/14 Last Active
          Po Box 6497                                                When was the debt incurred?           5/29/16
          Sioux Falls, SD 57117
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account


 4.2
 8        Citibank/The Home Depot                                    Last 4 digits of account number       9431                                             $1,990.00
          Nonpriority Creditor's Name
                                                                                                           Opened 02/09 Last Active
          Po Box 6497                                                When was the debt incurred?           6/06/16
          Sioux Falls, SD 57117
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 10 of 47
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                                   Case 16-20597-AJC                        Doc 1         Filed 07/29/16                Page 30 of 107                        7/29/16 3:04PM

 Debtor 1 Julio Cesar Arroyo
 Debtor 2 Rosalba Arroyo                                                                                  Case number (if know)

 4.2
 9        Citibank/The Home Depot                                    Last 4 digits of account number       9751                                                   $1.00
          Nonpriority Creditor's Name
                                                                                                           Opened 8/24/13 Last Active
          Po Box 6497                                                When was the debt incurred?           3/06/14
          Sioux Falls, SD 57117
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Charge Account
              Yes                                                       Other. Specify   $0 Balance on Credit Report


 4.3
 0        Comenity Bank/Marathon                                     Last 4 digits of account number       9656                                                   $1.00
          Nonpriority Creditor's Name
                                                                                                           Opened 10/14 Last Active
          Po Box 182789                                              When was the debt incurred?           11/14
          Columbus, OH 43218
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Charge Account
              Yes                                                       Other. Specify   $0 Balance on Credit Report


 4.3
 1        Comenity Bank/Sizes                                        Last 4 digits of account number       0768                                                 $75.00
          Nonpriority Creditor's Name
                                                                                                           Opened 07/12 Last Active
          Po Box 182789                                              When was the debt incurred?           6/16/16
          Columbus, OH 43218
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 11 of 47
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                                   Case 16-20597-AJC                        Doc 1         Filed 07/29/16                Page 31 of 107                        7/29/16 3:04PM

 Debtor 1 Julio Cesar Arroyo
 Debtor 2 Rosalba Arroyo                                                                                  Case number (if know)

 4.3
 2        Comenitycapital/bjsclb                                     Last 4 digits of account number       7288                                               $957.00
          Nonpriority Creditor's Name
                                                                                                           Opened 02/14 Last Active
          Po Box 182120                                              When was the debt incurred?           6/23/16
          Columbus, OH 43218
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.3
 3        Comenitycb/el Dorado                                       Last 4 digits of account number       4509                                                   $0.00
          Nonpriority Creditor's Name
                                                                                                           Opened 01/15 Last Active
          3100 Easton Square Pl                                      When was the debt incurred?           03/15
          Columbus, OH 43219
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account


 4.3
 4        Department of the Treasury                                 Last 4 digits of account number       4619                                                   $0.00
          Nonpriority Creditor's Name
          Po Box 21126                                               When was the debt incurred?
          Philadelphia, PA 19114
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice Only




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 12 of 47
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                                   Case 16-20597-AJC                        Doc 1         Filed 07/29/16                Page 32 of 107                        7/29/16 3:04PM

 Debtor 1 Julio Cesar Arroyo
 Debtor 2 Rosalba Arroyo                                                                                  Case number (if know)

 4.3
 5        Department Of The Treasury                                 Last 4 digits of account number       2863                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 21126                                               When was the debt incurred?
          Philadelphia, PA 19114-0326
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice Only


 4.3
 6        Equifax                                                    Last 4 digits of account number       4619                                                   $0.00
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?
          Po Box 740241
          Atlanta, GA 30374
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice Only


 4.3
 7        Equifax                                                    Last 4 digits of account number       2863                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 740241                                              When was the debt incurred?
          Atlanta, GA 30374
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice Only




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 13 of 47
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                                   Case 16-20597-AJC                        Doc 1         Filed 07/29/16                Page 33 of 107                        7/29/16 3:04PM

 Debtor 1 Julio Cesar Arroyo
 Debtor 2 Rosalba Arroyo                                                                                  Case number (if know)

 4.3
 8        Experian                                                   Last 4 digits of account number       4619                                                   $0.00
          Nonpriority Creditor's Name
          Po Box 2002                                                When was the debt incurred?
          Allen, TX 75013
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice Only


 4.3
 9        Experian                                                   Last 4 digits of account number       2863                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 2002                                                When was the debt incurred?
          Allen, TX 75013
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice Only


 4.4
 0        First Premier Bank                                         Last 4 digits of account number       4662                                                   $1.00
          Nonpriority Creditor's Name
                                                                                                           Opened 1/14/14 Last Active
          3820 N Louise Ave                                          When was the debt incurred?           02/14
          Sioux Falls, SD 57107
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Credit Card
              Yes                                                       Other. Specify   $0 Balance on Credit Report




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 14 of 47
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                                   Case 16-20597-AJC                        Doc 1         Filed 07/29/16                Page 34 of 107                        7/29/16 3:04PM

 Debtor 1 Julio Cesar Arroyo
 Debtor 2 Rosalba Arroyo                                                                                  Case number (if know)

 4.4
 1        Florida Department Of Revenue                              Last 4 digits of account number       4619                                                   $0.00
          Nonpriority Creditor's Name
          5050 W Tennessee St                                        When was the debt incurred?
          Tallahassee, FL 32399-0110
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice Only


 4.4
 2        Florida Department Of Revenue                              Last 4 digits of account number       4619                                                   $0.00
          Nonpriority Creditor's Name
          5050 W Tennessee St                                        When was the debt incurred?           xxx-xx-2863
          Tallahassee, FL 32399-0110
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice Only


 4.4
 3        Ford Credit                                                Last 4 digits of account number       1684                                                   $1.00
          Nonpriority Creditor's Name
                                                                                                           Opened 10/29/07 Last Active
          26525 N Riverwoods Blvd                                    When was the debt incurred?           2/09/09
          Mettawa, IL 60045
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Credit Card
              Yes                                                       Other. Specify   $0 Balance on Credit Report




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 15 of 47
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                                   Case 16-20597-AJC                        Doc 1         Filed 07/29/16                Page 35 of 107                        7/29/16 3:04PM

 Debtor 1 Julio Cesar Arroyo
 Debtor 2 Rosalba Arroyo                                                                                  Case number (if know)

 4.4
 4        Ford Credit                                                Last 4 digits of account number       4013                                                   $1.00
          Nonpriority Creditor's Name
                                                                                                           Opened 2/20/09 Last Active
          Po Box 30253                                               When was the debt incurred?           9/04/09
          Salt Lake City, UT 84130
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Credit Card
              Yes                                                       Other. Specify   $0 Balance on Credit Report


 4.4      IRS Centralized Bankruptcy
 5        Department                                                 Last 4 digits of account number       4619                                                   $0.00
          Nonpriority Creditor's Name
          POB 7346                                                   When was the debt incurred?
          Philadelphia, PA 19101-7346
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice Only


 4.4      IRS Centralized Bankruptcy
 6        Department                                                 Last 4 digits of account number       2863                                                   $0.00
          Nonpriority Creditor's Name
          POB 7346                                                   When was the debt incurred?
          Philadelphia, PA 19101-7346
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice Only




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 16 of 47
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                                   Case 16-20597-AJC                        Doc 1         Filed 07/29/16                Page 36 of 107                        7/29/16 3:04PM

 Debtor 1 Julio Cesar Arroyo
 Debtor 2 Rosalba Arroyo                                                                                  Case number (if know)

 4.4
 7        Kohls/Capital One                                          Last 4 digits of account number       3775                                               $178.00
          Nonpriority Creditor's Name
                                                                                                           Opened 02/15 Last Active
          N56 W 17000 Ridgewood Dr                                   When was the debt incurred?           4/02/15
          Menomonee Falls, WI 53051
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account


 4.4
 8        Kohls/Capital One                                          Last 4 digits of account number       3453                                                   $1.00
          Nonpriority Creditor's Name
                                                                                                           Opened 09/13 Last Active
          N56 W 17000 Ridgewood Dr                                   When was the debt incurred?           3/12/15
          Menomonee Falls, WI 53051
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Charge Account
              Yes                                                       Other. Specify   $0 Balance on Credit Report


 4.4
 9        Nmac                                                       Last 4 digits of account number       0001                                                   $1.00
          Nonpriority Creditor's Name
                                                                                                           Opened 12/10 Last Active
          Po Box 660360                                              When was the debt incurred?           3/03/16
          Dallas, TX 75266
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Automobile
              Yes                                                       Other. Specify   $0 Balance on Credit Report




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 17 of 47
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                                   Case 16-20597-AJC                        Doc 1         Filed 07/29/16                Page 37 of 107                        7/29/16 3:04PM

 Debtor 1 Julio Cesar Arroyo
 Debtor 2 Rosalba Arroyo                                                                                  Case number (if know)

 4.5
 0        NTB/CBSD                                                   Last 4 digits of account number       2553                                                   $1.00
          Nonpriority Creditor's Name
                                                                                                           Opened 9/06/07 Last Active
          Po Box 6497                                                When was the debt incurred?           1/06/08
          Sioux Falls, SD 57117
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Charge Account
              Yes                                                       Other. Specify   $0 Balance on Credit Report


 4.5
 1        Radio Shack/Citibank                                       Last 4 digits of account number       8442                                                   $1.00
          Nonpriority Creditor's Name
                                                                                                           Opened 10/24/12 Last Active
          Po Box 6497                                                When was the debt incurred?           5/10/13
          Sioux Falls, SD 57117
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Charge Account
              Yes                                                       Other. Specify   $0 Balance on Credit Report


 4.5
 2        Santander Consumer USA                                     Last 4 digits of account number       8823                                               $951.00
          Nonpriority Creditor's Name
                                                                                                           Opened 12/15 Last Active
          8585 North Stemmons Fwy                                    When was the debt incurred?           6/21/16
          Dallas, TX 75247
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 18 of 47
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                                   Case 16-20597-AJC                        Doc 1         Filed 07/29/16                Page 38 of 107                        7/29/16 3:04PM

 Debtor 1 Julio Cesar Arroyo
 Debtor 2 Rosalba Arroyo                                                                                  Case number (if know)

 4.5
 3        Stpc/cbsd                                                  Last 4 digits of account number       3078                                                   $1.00
          Nonpriority Creditor's Name
                                                                                                           Opened 11/18/13 Last Active
          Po Box 6497                                                When was the debt incurred?           9/19/14
          Sioux Falls, SD 57117
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Charge Account
              Yes                                                       Other. Specify   $0 Balance on Credit Report


 4.5
 4        Stpc/cbsd                                                  Last 4 digits of account number       9052                                                   $1.00
          Nonpriority Creditor's Name
                                                                                                           Opened 7/23/10 Last Active
          Po Box 6497                                                When was the debt incurred?           2/27/13
          Sioux Falls, SD 57117
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Charge Account
              Yes                                                       Other. Specify   $0 Balance on Credit Report


 4.5
 5        Syncb/brandsmart                                           Last 4 digits of account number       3615                                               $866.00
          Nonpriority Creditor's Name
                                                                                                           Opened 12/15 Last Active
          Po Box 965036                                              When was the debt incurred?           6/20/16
          Orlando, FL 32896
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 19 of 47
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                                   Case 16-20597-AJC                        Doc 1         Filed 07/29/16                Page 39 of 107                        7/29/16 3:04PM

 Debtor 1 Julio Cesar Arroyo
 Debtor 2 Rosalba Arroyo                                                                                  Case number (if know)

 4.5
 6        Syncb/brandsmart                                           Last 4 digits of account number       5369                                                   $1.00
          Nonpriority Creditor's Name
                                                                                                           Opened 4/16/12 Last Active
          Po Box 965036                                              When was the debt incurred?           6/11/12
          Orlando, FL 32896
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Charge Account
              Yes                                                       Other. Specify   $0 Balance on Credit Report


 4.5
 7        Syncb/brmart                                               Last 4 digits of account number       5145                                                   $1.00
          Nonpriority Creditor's Name
                                                                                                           Opened 8/26/12 Last Active
          Po Box 965036                                              When was the debt incurred?           3/21/13
          Orlando, FL 32896
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Charge Account
              Yes                                                       Other. Specify   $0 Balance on Credit Report


 4.5
 8        Syncb/HH Gregg                                             Last 4 digits of account number       8065                                               $222.00
          Nonpriority Creditor's Name
                                                                                                           Opened 05/15 Last Active
          C/o Po Box 965036                                          When was the debt incurred?           6/10/16
          Orlando, FL 32896
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 20 of 47
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                                   Case 16-20597-AJC                        Doc 1         Filed 07/29/16                Page 40 of 107                        7/29/16 3:04PM

 Debtor 1 Julio Cesar Arroyo
 Debtor 2 Rosalba Arroyo                                                                                  Case number (if know)

 4.5
 9        Syncb/Rooms To Go                                          Last 4 digits of account number       8220                                               $977.00
          Nonpriority Creditor's Name
                                                                                                           Opened 02/11 Last Active
          Po Box 965036                                              When was the debt incurred?           6/29/16
          Orlando, FL 32896
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account


 4.6
 0        Syncb/toysrus                                              Last 4 digits of account number       7853                                               $717.00
          Nonpriority Creditor's Name
                                                                                                           Opened 03/13 Last Active
          Po Box 965005                                              When was the debt incurred?           6/10/16
          Orlando, FL 32896
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account


 4.6
 1        Syncb/toysrus                                              Last 4 digits of account number       0669                                                   $1.00
          Nonpriority Creditor's Name
                                                                                                           Opened 6/30/08 Last Active
          Po Box 965005                                              When was the debt incurred?           7/27/12
          Orlando, FL 32896
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Charge Account
              Yes                                                       Other. Specify   $0 Balance on Credit Report




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 21 of 47
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                                   Case 16-20597-AJC                        Doc 1         Filed 07/29/16                Page 41 of 107                        7/29/16 3:04PM

 Debtor 1 Julio Cesar Arroyo
 Debtor 2 Rosalba Arroyo                                                                                  Case number (if know)

 4.6
 2        Synchrony Bank/ JC Penneys                                 Last 4 digits of account number       8875                                             $2,045.00
          Nonpriority Creditor's Name
                                                                                                           Opened 08/13 Last Active
          Po Box 965007                                              When was the debt incurred?           6/19/16
          Orlando, FL 32896
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account


 4.6
 3        Synchrony Bank/ JC Penneys                                 Last 4 digits of account number       6567                                             $1,038.00
          Nonpriority Creditor's Name
                                                                                                           Opened 08/11 Last Active
          Po Box 965007                                              When was the debt incurred?           6/19/16
          Orlando, FL 32896
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account


 4.6
 4        Synchrony Bank/ JC Penneys                                 Last 4 digits of account number       6280                                               $876.00
          Nonpriority Creditor's Name
                                                                                                           Opened 1/31/10 Last Active
          Po Box 965007                                              When was the debt incurred?           5/30/16
          Orlando, FL 32896
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 22 of 47
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                                   Case 16-20597-AJC                        Doc 1         Filed 07/29/16                Page 42 of 107                        7/29/16 3:04PM

 Debtor 1 Julio Cesar Arroyo
 Debtor 2 Rosalba Arroyo                                                                                  Case number (if know)

 4.6
 5        Synchrony Bank/ JC Penneys                                 Last 4 digits of account number       3213                                                   $1.00
          Nonpriority Creditor's Name
                                                                                                           Opened 01/15 Last Active
          Po Box 965007                                              When was the debt incurred?           3/11/15
          Orlando, FL 32896
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Charge Account
              Yes                                                       Other. Specify   $0 Balance on Credit Report


 4.6
 6        Synchrony Bank/ JC Penneys                                 Last 4 digits of account number       3334                                                   $1.00
          Nonpriority Creditor's Name
                                                                                                           Opened 8/12/11 Last Active
          Po Box 965007                                              When was the debt incurred?           6/07/13
          Orlando, FL 32896
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Charge Account
              Yes                                                       Other. Specify   $0 Balance on Credit Report


 4.6
 7        Synchrony Bank/ JC Penneys                                 Last 4 digits of account number       6298                                                   $1.00
          Nonpriority Creditor's Name
                                                                                                           Opened 1/31/10 Last Active
          Po Box 965007                                              When was the debt incurred?           1/10/14
          Orlando, FL 32896
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Charge Account
              Yes                                                       Other. Specify   $0 Balance on Credit Report



Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 23 of 47
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                                   Case 16-20597-AJC                        Doc 1         Filed 07/29/16                Page 43 of 107                        7/29/16 3:04PM

 Debtor 1 Julio Cesar Arroyo
 Debtor 2 Rosalba Arroyo                                                                                  Case number (if know)

 4.6
 8        Synchrony Bank/ Old Navy                                   Last 4 digits of account number       2862                                                   $1.00
          Nonpriority Creditor's Name
                                                                                                           Opened 7/12/05 Last Active
          Po Box 965005                                              When was the debt incurred?           01/07
          Orlando, FL 32896
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Charge Account
              Yes                                                       Other. Specify   $0 Balance on Credit Report


 4.6
 9        Synchrony Bank/ Old Navy                                   Last 4 digits of account number       2821                                                   $1.00
          Nonpriority Creditor's Name
                                                                                                           Opened 7/12/05 Last Active
          Po Box 965005                                              When was the debt incurred?           7/04/07
          Orlando, FL 32896
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Charge Account
              Yes                                                       Other. Specify   $0 Balance on Credit Report


 4.7
 0        Synchrony Bank/ Old Navy                                   Last 4 digits of account number       7938                                                   $1.00
          Nonpriority Creditor's Name
                                                                                                           Opened 03/14 Last Active
          Po Box 965005                                              When was the debt incurred?           3/16/16
          Orlando, FL 32896
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Charge Account
              Yes                                                       Other. Specify   $0 Balance on Credit Report



Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 24 of 47
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                                   Case 16-20597-AJC                        Doc 1         Filed 07/29/16                Page 44 of 107                        7/29/16 3:04PM

 Debtor 1 Julio Cesar Arroyo
 Debtor 2 Rosalba Arroyo                                                                                  Case number (if know)

 4.7
 1        Synchrony Bank/Car Care One                                Last 4 digits of account number       2617                                                   $1.00
          Nonpriority Creditor's Name
                                                                                                           Opened 9/17/10 Last Active
          C/o Po Box 965036                                          When was the debt incurred?           10/03/10
          Orlando, FL 32896
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Charge Account
              Yes                                                       Other. Specify   $0 Balance on Credit Report


 4.7
 2        Synchrony Bank/Car Care One                                Last 4 digits of account number       9643                                                   $1.00
          Nonpriority Creditor's Name
                                                                                                           Opened 10/17/14 Last Active
          C/o Po Box 965036                                          When was the debt incurred?           4/01/15
          Orlando, FL 32896
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Charge Account
              Yes                                                       Other. Specify   $0 Balance on Credit Report


 4.7
 3        Synchrony Bank/Care Credit                                 Last 4 digits of account number       1980                                               $690.00
          Nonpriority Creditor's Name
                                                                                                           Opened 04/11 Last Active
          950 Forrer Blvd                                            When was the debt incurred?           6/19/16
          Kettering, OH 45420
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 25 of 47
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                                   Case 16-20597-AJC                        Doc 1         Filed 07/29/16                Page 45 of 107                        7/29/16 3:04PM

 Debtor 1 Julio Cesar Arroyo
 Debtor 2 Rosalba Arroyo                                                                                  Case number (if know)

 4.7
 4        Synchrony Bank/HH Gregg                                    Last 4 digits of account number       3725                                                   $1.00
          Nonpriority Creditor's Name
                                                                                                           Opened 9/16/05 Last Active
          C/o P.o. Box 965036                                        When was the debt incurred?           11/09/11
          Orlando, FL 32896
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Charge Account
              Yes                                                       Other. Specify   $0 Balance on Credit Report


 4.7
 5        Synchrony Bank/Kirklands                                   Last 4 digits of account number       4755                                                   $1.00
          Nonpriority Creditor's Name
                                                                                                           Opened 4/10/11 Last Active
          Po Box 965005                                              When was the debt incurred?           10/27/11
          Orlando, FL 32896
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Charge Account
              Yes                                                       Other. Specify   $0 Balance on Credit Report


 4.7
 6        Synchrony Bank/Lowes                                       Last 4 digits of account number       4911                                             $1,901.00
          Nonpriority Creditor's Name
                                                                                                           Opened 08/10 Last Active
          Po Box 965005                                              When was the debt incurred?           6/19/16
          Orlando, FL 32896
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 26 of 47
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                                   Case 16-20597-AJC                        Doc 1         Filed 07/29/16                Page 46 of 107                        7/29/16 3:04PM

 Debtor 1 Julio Cesar Arroyo
 Debtor 2 Rosalba Arroyo                                                                                  Case number (if know)

 4.7
 7        Synchrony Bank/Lowes                                       Last 4 digits of account number       8229                                             $1,571.00
          Nonpriority Creditor's Name
                                                                                                           Opened 11/15 Last Active
          Po Box 965005                                              When was the debt incurred?           5/30/16
          Orlando, FL 32896
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account


 4.7
 8        Synchrony Bank/Lowes                                       Last 4 digits of account number       6767                                             $1,312.00
          Nonpriority Creditor's Name
                                                                                                           Opened 01/14 Last Active
          Po Box 965005                                              When was the debt incurred?           5/30/16
          Orlando, FL 32896
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account


 4.7
 9        Synchrony Bank/Pep Boys                                    Last 4 digits of account number       9819                                             $1,208.00
          Nonpriority Creditor's Name
                                                                                                           Opened 11/13 Last Active
          C/o Po Box 965036                                          When was the debt incurred?           6/02/16
          Orlando, FL 32896
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 27 of 47
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                                   Case 16-20597-AJC                        Doc 1         Filed 07/29/16                Page 47 of 107                        7/29/16 3:04PM

 Debtor 1 Julio Cesar Arroyo
 Debtor 2 Rosalba Arroyo                                                                                  Case number (if know)

 4.8
 0        Synchrony Bank/Sams                                        Last 4 digits of account number       7790                                             $2,608.00
          Nonpriority Creditor's Name
                                                                                                           Opened 02/15 Last Active
          Po Box 965005                                              When was the debt incurred?           6/01/16
          Orlando, FL 32896
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account


 4.8
 1        Synchrony Bank/Sams                                        Last 4 digits of account number       2997                                             $1,158.00
          Nonpriority Creditor's Name
                                                                                                           Opened 01/14 Last Active
          Po Box 965005                                              When was the debt incurred?           6/22/16
          Orlando, FL 32896
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account


 4.8
 2        Synchrony Bank/Sams                                        Last 4 digits of account number       5154                                               $405.00
          Nonpriority Creditor's Name
                                                                                                           Opened 05/15 Last Active
          Po Box 965005                                              When was the debt incurred?           6/10/16
          Orlando, FL 32896
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 28 of 47
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                                   Case 16-20597-AJC                        Doc 1         Filed 07/29/16                Page 48 of 107                        7/29/16 3:04PM

 Debtor 1 Julio Cesar Arroyo
 Debtor 2 Rosalba Arroyo                                                                                  Case number (if know)

 4.8
 3        Synchrony Bank/Sams                                        Last 4 digits of account number       6226                                                   $1.00
          Nonpriority Creditor's Name
                                                                                                           Opened 6/18/04 Last Active
          Po Box 965005                                              When was the debt incurred?           11/22/05
          Orlando, FL 32896
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Charge Account
              Yes                                                       Other. Specify   $0 Balance on Credit Report


 4.8
 4        Synchrony Bank/Sams                                        Last 4 digits of account number       8046                                                   $1.00
          Nonpriority Creditor's Name
                                                                                                           Opened 5/15/15 Last Active
          Po Box 965005                                              When was the debt incurred?           10/06/15
          Orlando, FL 32896
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Charge Account
              Yes                                                       Other. Specify   $0 Balance on Credit Report


 4.8
 5        Synchrony Bank/Sams                                        Last 4 digits of account number       4065                                                   $1.00
          Nonpriority Creditor's Name
                                                                                                           Opened 5/27/07 Last Active
          Po Box 965005                                              When was the debt incurred?           12/02/07
          Orlando, FL 32896
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Charge Account
              Yes                                                       Other. Specify   $0 Balance on Credit Report



Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 29 of 47
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                                   Case 16-20597-AJC                        Doc 1         Filed 07/29/16                Page 49 of 107                        7/29/16 3:04PM

 Debtor 1 Julio Cesar Arroyo
 Debtor 2 Rosalba Arroyo                                                                                  Case number (if know)

 4.8
 6        Synchrony Bank/Sams                                        Last 4 digits of account number       3417                                                   $1.00
          Nonpriority Creditor's Name
                                                                                                           Opened 2/01/15 Last Active
          Po Box 965005                                              When was the debt incurred?           8/28/15
          Orlando, FL 32896
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Charge Account
              Yes                                                       Other. Specify   $0 Balance on Credit Report


 4.8
 7        Synchrony Bank/TJX                                         Last 4 digits of account number       1685                                               $188.00
          Nonpriority Creditor's Name
                                                                                                           Opened 05/10 Last Active
          Po Box 965015                                              When was the debt incurred?           6/03/16
          Orlando, FL 32896
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account


 4.8
 8        Synchrony Bank/TJX                                         Last 4 digits of account number       6423                                                   $1.00
          Nonpriority Creditor's Name
                                                                                                           Opened 5/22/10 Last Active
          Po Box 965015                                              When was the debt incurred?           9/23/11
          Orlando, FL 32896
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Charge Account
              Yes                                                       Other. Specify   $0 Balance on Credit Report




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 30 of 47
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                                   Case 16-20597-AJC                        Doc 1         Filed 07/29/16                Page 50 of 107                        7/29/16 3:04PM

 Debtor 1 Julio Cesar Arroyo
 Debtor 2 Rosalba Arroyo                                                                                  Case number (if know)

 4.8
 9        Synchrony Bank/Walmart                                     Last 4 digits of account number       6697                                             $3,780.00
          Nonpriority Creditor's Name
                                                                                                           Opened 12/14 Last Active
          Po Box 965024                                              When was the debt incurred?           6/19/16
          Orlando, FL 32896
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.9
 0        Synchrony Bank/Walmart                                     Last 4 digits of account number       8489                                             $3,123.00
          Nonpriority Creditor's Name
                                                                                                           Opened 10/12 Last Active
          Po Box 965024                                              When was the debt incurred?           6/19/16
          Orlando, FL 32896
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.9
 1        Synchrony Bank/Walmart                                     Last 4 digits of account number       1986                                             $1,271.00
          Nonpriority Creditor's Name
                                                                                                           Opened 10/13 Last Active
          Po Box 965024                                              When was the debt incurred?           6/26/16
          El Paso, TX 79998
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 31 of 47
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                                   Case 16-20597-AJC                        Doc 1         Filed 07/29/16                Page 51 of 107                        7/29/16 3:04PM

 Debtor 1 Julio Cesar Arroyo
 Debtor 2 Rosalba Arroyo                                                                                  Case number (if know)

 4.9
 2        Synchrony Bank/Walmart                                     Last 4 digits of account number       6268                                               $541.00
          Nonpriority Creditor's Name
                                                                                                           Opened 04/15 Last Active
          Po Box 965024                                              When was the debt incurred?           6/06/16
          El Paso, TX 79998
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account


 4.9
 3        Synchrony Bank/Walmart                                     Last 4 digits of account number       9864                                                   $0.00
          Nonpriority Creditor's Name
                                                                                                           Opened 10/28/13 Last Active
          Po Box 965024                                              When was the debt incurred?           11/11/13
          El Paso, TX 79998
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account


 4.9
 4        Synchrony Bank/Walmart                                     Last 4 digits of account number       5942                                                   $1.00
          Nonpriority Creditor's Name
                                                                                                           Opened 9/09/11 Last Active
          Po Box 965024                                              When was the debt incurred?           5/27/14
          El Paso, TX 79998
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Charge Account
              Yes                                                       Other. Specify   $0 Balance on Credit Report




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 32 of 47
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                                   Case 16-20597-AJC                        Doc 1         Filed 07/29/16                Page 52 of 107                        7/29/16 3:04PM

 Debtor 1 Julio Cesar Arroyo
 Debtor 2 Rosalba Arroyo                                                                                  Case number (if know)

 4.9
 5        Synchrony Bank/Walmart                                     Last 4 digits of account number       3194                                                   $1.00
          Nonpriority Creditor's Name
                                                                                                           Opened 9/05/11 Last Active
          Po Box 965024                                              When was the debt incurred?           4/25/14
          El Paso, TX 79998
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Charge Account
              Yes                                                       Other. Specify   $0 Balance on Credit Report


 4.9
 6        Synchrony Bank/Walmart                                     Last 4 digits of account number       3057                                                   $1.00
          Nonpriority Creditor's Name
                                                                                                           Opened 4/22/05 Last Active
          Po Box 965024                                              When was the debt incurred?           6/11/12
          El Paso, TX 79998
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Charge Account
              Yes                                                       Other. Specify   $0 Balance on Credit Report


 4.9
 7        Synchrony Bank/Walmart                                     Last 4 digits of account number       2669                                                   $1.00
          Nonpriority Creditor's Name
                                                                                                           Opened 3/13/11 Last Active
          Po Box 965024                                              When was the debt incurred?           5/27/14
          El Paso, TX 79998
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Charge Account
              Yes                                                       Other. Specify   $0 Balance on Credit Report



Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 33 of 47
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                                   Case 16-20597-AJC                        Doc 1         Filed 07/29/16                Page 53 of 107                        7/29/16 3:04PM

 Debtor 1 Julio Cesar Arroyo
 Debtor 2 Rosalba Arroyo                                                                                  Case number (if know)

 4.9
 8        Synchrony Bank/Walmart                                     Last 4 digits of account number       0114                                                   $1.00
          Nonpriority Creditor's Name
                                                                                                           Opened 12/19/14 Last Active
          Po Box 965024                                              When was the debt incurred?           8/12/15
          Orlando, FL 32896
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Credit Card
              Yes                                                       Other. Specify   $0 Balance on Credit Report


 4.9
 9        Target                                                     Last 4 digits of account number       1915                                             $1,995.00
          Nonpriority Creditor's Name
                                                                                                           Opened 08/14 Last Active
          Po Box 673                                                 When was the debt incurred?           6/18/16
          Minneapolis, MN 55440
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.1
 00       Target                                                     Last 4 digits of account number       0156                                             $1,729.00
          Nonpriority Creditor's Name
                                                                                                           Opened 10/13 Last Active
          Po Box 673                                                 When was the debt incurred?           6/18/16
          Minneapolis, MN 55440
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 34 of 47
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                                   Case 16-20597-AJC                        Doc 1         Filed 07/29/16                Page 54 of 107                        7/29/16 3:04PM

 Debtor 1 Julio Cesar Arroyo
 Debtor 2 Rosalba Arroyo                                                                                  Case number (if know)

 4.1
 01       Target                                                     Last 4 digits of account number       1731                                                   $1.00
          Nonpriority Creditor's Name
                                                                                                           Opened 04/05 Last Active
          Po Box 673                                                 When was the debt incurred?           11/05/07
          Minneapolis, MN 55440
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Credit Card
              Yes                                                       Other. Specify   $0 Balance on Credit Report


 4.1
 02       Target                                                     Last 4 digits of account number       5749                                                   $1.00
          Nonpriority Creditor's Name
                                                                                                           Opened 01/13 Last Active
          Po Box 673                                                 When was the debt incurred?           3/21/13
          Minneapolis, MN 55440
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Credit Card
              Yes                                                       Other. Specify   $0 Balance on Credit Report


 4.1
 03       Target                                                     Last 4 digits of account number       3453                                                   $1.00
          Nonpriority Creditor's Name
                                                                                                           Opened 03/11 Last Active
          Po Box 673                                                 When was the debt incurred?           10/07/11
          Minneapolis, MN 55440
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Credit Card
              Yes                                                       Other. Specify   $0 Balance on Credit Report



Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 35 of 47
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                                   Case 16-20597-AJC                        Doc 1         Filed 07/29/16                Page 55 of 107                        7/29/16 3:04PM

 Debtor 1 Julio Cesar Arroyo
 Debtor 2 Rosalba Arroyo                                                                                  Case number (if know)

 4.1
 04       Target                                                     Last 4 digits of account number       9961                                                   $1.00
          Nonpriority Creditor's Name
                                                                                                           Opened 02/09 Last Active
          Po Box 673                                                 When was the debt incurred?           11/05/11
          Minneapolis, MN 55440
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Credit Card
              Yes                                                       Other. Specify   $0 Balance on Credit Report


 4.1
 05       Transunion                                                 Last 4 digits of account number       2863                                                   $0.00
          Nonpriority Creditor's Name
          Po Box 1000                                                When was the debt incurred?
          Chester, PA 19016
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice Only


 4.1
 06       Transunion                                                 Last 4 digits of account number       4619                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 1000                                                When was the debt incurred?
          Chester, PA 19016-1000
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice Only




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 36 of 47
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                                   Case 16-20597-AJC                        Doc 1         Filed 07/29/16                Page 56 of 107                        7/29/16 3:04PM

 Debtor 1 Julio Cesar Arroyo
 Debtor 2 Rosalba Arroyo                                                                                  Case number (if know)

 4.1
 07       Tribute/atlanticus                                         Last 4 digits of account number       5531                                                   $1.00
          Nonpriority Creditor's Name
                                                                                                           Opened 5/28/08 Last Active
          Pob 105555                                                 When was the debt incurred?           8/03/09
          Atlanta, GA 30348
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Credit Card
              Yes                                                       Other. Specify   $0 Balance on Credit Report


 4.1
 08       Visa Dept Store National Bank                              Last 4 digits of account number       3970                                                   $1.00
          Nonpriority Creditor's Name
                                                                                                           Opened 05/15 Last Active
          9111 Duke Blvd                                             When was the debt incurred?           6/18/16
          Mason, OH 45040
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Charge Account
              Yes                                                       Other. Specify   $0 Balance on Credit Report


 4.1
 09       Visa Dept Store National Bank                              Last 4 digits of account number       8971                                                   $1.00
          Nonpriority Creditor's Name
                                                                                                           Opened 3/03/05 Last Active
          9111 Duke Blvd                                             When was the debt incurred?           7/28/07
          Mason, OH 45040
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Charge Account
              Yes                                                       Other. Specify   $0 Balance on Credit Report



Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 37 of 47
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                                   Case 16-20597-AJC                        Doc 1         Filed 07/29/16                Page 57 of 107                        7/29/16 3:04PM

 Debtor 1 Julio Cesar Arroyo
 Debtor 2 Rosalba Arroyo                                                                                  Case number (if know)

 4.1
 10        Wells Fargo Auto Finance                                  Last 4 digits of account number       9001                                                   $1.00
           Nonpriority Creditor's Name
                                                                                                           Opened 3/22/08 Last Active
           Po Box 29704                                              When was the debt incurred?           2/06/12
           Phoenix, AZ 85038
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Automobile
              Yes                                                       Other. Specify   $0 Balance on Credit Report


 4.1
 11        Wells Fargo Dealer Services                               Last 4 digits of account number       7323                                                   $1.00
           Nonpriority Creditor's Name
                                                                                                           Opened 03/08 Last Active
           Po Box 1697                                               When was the debt incurred?           4/07/14
           Winterville, NC 28590
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Automobile
              Yes                                                       Other. Specify   $0 Balance on Credit Report


 4.1
 12        Wffnatbank                                                Last 4 digits of account number       0916                                                   $1.00
           Nonpriority Creditor's Name
                                                                                                           Opened 03/02 Last Active
           Cscl Dispute Tm-mac N8235-04m                             When was the debt incurred?           7/06/03
           Des Moines, IA 50306
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Charge Account
              Yes                                                       Other. Specify   $0 Balance on Credit Report

 Part 3:      List Others to Be Notified About a Debt That You Already Listed

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 38 of 47
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                                   Case 16-20597-AJC                        Doc 1          Filed 07/29/16               Page 58 of 107                                7/29/16 3:04PM

 Debtor 1 Julio Cesar Arroyo
 Debtor 2 Rosalba Arroyo                                                                                  Case number (if know)

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Amex                                                          Line 4.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Correspondence                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Po Box 981540
 El Paso, TX 79998
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Bank Of America                                               Line 4.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Nc4-105-03-14                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Po Box 26012
 Greensboro, NC 27410
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Bank Of America                                               Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Nc4-105-03-14                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Po Box 26012
 Greensboro, NC 27410
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Bank Of America                                               Line 4.4 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Nc4-105-03-14                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Po Box 26012
 Greensboro, NC 27410
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Bank Of America                                               Line 4.5 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Nc4-105-03-14                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Po Box 26012
 Greensboro, NC 27410
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Barclays Bank Delaware                                        Line 4.6 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Po Box 8801                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Wilmington, DE 19899
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Barclays Bank Delaware                                        Line 4.7 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Po Box 8801                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Wilmington, DE 19899
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One                                                   Line 4.10 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Po Box 30285                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Po Box 62180
 Salt Lake City, UT 84130
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One                                                   Line 4.11 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Po Box 30285                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Po Box 62180
 Salt Lake City, UT 84130
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One                                                   Line 4.12 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Po Box 30285                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 39 of 47
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                              Best Case Bankruptcy
                                   Case 16-20597-AJC                        Doc 1           Filed 07/29/16                Page 59 of 107                                7/29/16 3:04PM

 Debtor 1 Julio Cesar Arroyo
 Debtor 2 Rosalba Arroyo                                                                                    Case number (if know)

 Po Box 62180
 Salt Lake City, UT 84130
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Chase Card Services                                           Line 4.13 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Attn: Correspondence Dept                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 Po Box 15298
 Wilmington, DE 19850
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Citibank / Sears                                              Line 4.18 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Citicorp Credit Services/Attn:                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Centraliz
 Po Box 790040
 Saint Louis, MO 63179
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Citibank / Sears                                              Line 4.19 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Citicorp Credit Services/Attn:                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Centraliz
 Po Box 790040
 Saint Louis, MO 63179
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Citibank Sears                                                Line 4.20 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Citicorp Credit Srvs/Centralized                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Bankrup
 Po Box 790040
 Saint Louis, MO 63179
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Citibank Sears                                                Line 4.21 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Citicorp Credit Srvs/Centralized                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Bankrup
 Po Box 790040
 Saint Louis, MO 63179
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Citibank/Best Buy                                             Line 4.22 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Centalized Bankruptcy/Citicorp                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Credit Se
 Po Box 790040
 Sanit Louis, MO 63179
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Citibank/Best Buy                                             Line 4.23 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Centralized Bankruptcy/CitiCorp                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Credit S
 Po Box 790040
 St Louis, MO 63179
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Citibank/Best Buy                                             Line 4.24 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Centalized Bankruptcy/Citicorp                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Credit Se
 Po Box 790040
 Sanit Louis, MO 63179
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 40 of 47
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                                Best Case Bankruptcy
                                   Case 16-20597-AJC                        Doc 1          Filed 07/29/16               Page 60 of 107                                7/29/16 3:04PM

 Debtor 1 Julio Cesar Arroyo
 Debtor 2 Rosalba Arroyo                                                                                  Case number (if know)

 Citibank/Best Buy                                             Line 4.25 of (Check one):                  Part 1: Creditors with Priority Unsecured Claims
 Centralized Bankruptcy/CitiCorp                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Credit S
 Po Box 790040
 St Louis, MO 63179
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Citibank/Exxon Mobile                                         Line 4.26 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Citicorp Cr Srvs/Centralized                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Bankruptcy
 Po Box 790040
 S Louis, MO 63129
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Citibank/The Home Depot                                       Line 4.27 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Citicorp Cr Srvs/Centralized                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Bankruptcy
 Po Box 790040
 S Louis, MO 63129
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Citibank/The Home Depot                                       Line 4.28 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Citicorp Cr Srvs/Centralized                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Bankruptcy
 Po Box 790040
 S Louis, MO 63129
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Citibank/The Home Depot                                       Line 4.29 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Citicorp Cr Srvs/Centralized                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Bankruptcy
 Po Box 790040
 S Louis, MO 63129
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Comenity Bank/Marathon                                        Line 4.30 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Po Box 182125                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Columbus, OH 43218
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Comenity Bank/Sizes                                           Line 4.31 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Po Box 182125                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Columbus, OH 43218
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Comenitycapital/bjsclb                                        Line 4.32 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Comenity Bank                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Po Box 182125
 Columbus, OH 43218
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Comenitycb/el Dorado                                          Line 4.33 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Comenity Bank                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Po Box 182125
 Columbus, OH 43218
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 First Premier Bank                                            Line 4.40 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 601 S Minneapolis Ave                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 41 of 47
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                              Best Case Bankruptcy
                                   Case 16-20597-AJC                        Doc 1          Filed 07/29/16               Page 61 of 107                                7/29/16 3:04PM

 Debtor 1 Julio Cesar Arroyo
 Debtor 2 Rosalba Arroyo                                                                                  Case number (if know)

 Sioux Falls, SD 57104
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Ford Credit                                                   Line 4.43 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 National Bankrupcy Service Center                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Po Box 62180
 Colorado Springs, CO 80962
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Ford Credit                                                   Line 4.44 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 National Bankrupcy Service Center                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Po Box 62180
 Colorado Springs, CO 80962
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Kohls/Capital One                                             Line 4.47 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Po Box 3120                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Milwaukee, WI 53201
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Kohls/Capital One                                             Line 4.48 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Po Box 3120                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Milwaukee, WI 53201
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 NTB/CBSD                                                      Line 4.50 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 CitiCards Private Label Centralized                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 Bank
 Po Box 790040
 Saint Louis, MO 63179
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Radio Shack/Citibank                                          Line 4.51 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Citicorp/Centralized Bankruptcy                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Po Box 790040
 Saint Louis, MO 63179
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Santander Consumer USA                                        Line 4.52 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Po Box 961245                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Fort Worth, TX 76161
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Stpc/cbsd                                                     Line 4.53 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 CitiCards Private Label Bankruptcy                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 Po Box 20483
 Kansas City, MO 64195
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Stpc/cbsd                                                     Line 4.54 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 CitiCards Private Label Bankruptcy                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 Po Box 20483
 Kansas City, MO 64195
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Syncb/Rooms To Go                                             Line 4.59 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Attn: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Po Box 103104
 Roswell, GA 30076
Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 42 of 47
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                              Best Case Bankruptcy
                                   Case 16-20597-AJC                        Doc 1          Filed 07/29/16               Page 62 of 107                                7/29/16 3:04PM

 Debtor 1 Julio Cesar Arroyo
 Debtor 2 Rosalba Arroyo                                                                                  Case number (if know)

                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Syncb/toysrus                                                 Line 4.60 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Attn: Bankrupty                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Po Box 103104
 Roswell, GA 30076
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Syncb/toysrus                                                 Line 4.61 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Attn: Bankrupty                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Po Box 103104
 Roswell, GA 30076
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Synchrony Bank/ JC Penneys                                    Line 4.62 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Po Box 965064                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Synchrony Bank/ JC Penneys                                    Line 4.63 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Po Box 965064                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Synchrony Bank/ JC Penneys                                    Line 4.64 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Po Box 965064                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Synchrony Bank/ JC Penneys                                    Line 4.65 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Po Box 965064                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Synchrony Bank/ JC Penneys                                    Line 4.66 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Po Box 965064                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Synchrony Bank/ JC Penneys                                    Line 4.67 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Po Box 965064                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Synchrony Bank/ Old Navy                                      Line 4.68 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Po Box 965064                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Synchrony Bank/ Old Navy                                      Line 4.69 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Po Box 965064                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Synchrony Bank/ Old Navy                                      Line 4.70 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Po Box 965064                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896
                                                               Last 4 digits of account number


Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 43 of 47
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                              Best Case Bankruptcy
                                   Case 16-20597-AJC                        Doc 1          Filed 07/29/16               Page 63 of 107                                7/29/16 3:04PM

 Debtor 1 Julio Cesar Arroyo
 Debtor 2 Rosalba Arroyo                                                                                  Case number (if know)

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Synchrony Bank/Car Care One                                   Line 4.72 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Po Box 965064                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Synchrony Bank/Care Credit                                    Line 4.73 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Po Box 965064                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Synchrony Bank/Kirklands                                      Line 4.75 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Po Box 965064                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Synchrony Bank/Lowes                                          Line 4.76 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Po Box 965064                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Synchrony Bank/Lowes                                          Line 4.77 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Po Box 965064                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Synchrony Bank/Lowes                                          Line 4.78 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Po Box 965064                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Synchrony Bank/Pep Boys                                       Line 4.79 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Po Box 965064                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Synchrony Bank/Sams                                           Line 4.80 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Po Box 965064                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Synchrony Bank/Sams                                           Line 4.81 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Po Box 965064                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Synchrony Bank/Sams                                           Line 4.82 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Po Box 965064                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Synchrony Bank/Sams                                           Line 4.83 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Po Box 965064                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Synchrony Bank/Sams                                           Line 4.84 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Po Box 965064

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 44 of 47
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                              Best Case Bankruptcy
                                   Case 16-20597-AJC                        Doc 1          Filed 07/29/16               Page 64 of 107                                7/29/16 3:04PM

 Debtor 1 Julio Cesar Arroyo
 Debtor 2 Rosalba Arroyo                                                                                  Case number (if know)

 Orlando, FL 32896                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Synchrony Bank/Sams                                           Line 4.85 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Po Box 965064                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Synchrony Bank/Sams                                           Line 4.86 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Po Box 965064                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Synchrony Bank/TJX                                            Line 4.87 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Po Box 965064                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Synchrony Bank/TJX                                            Line 4.88 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Po Box 965064                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Synchrony Bank/Walmart                                        Line 4.89 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Po Box 965064                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Synchrony Bank/Walmart                                        Line 4.90 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Po Box 965064                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Synchrony Bank/Walmart                                        Line 4.91 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Po Box 965064                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Synchrony Bank/Walmart                                        Line 4.92 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Po Box 965064                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Synchrony Bank/Walmart                                        Line 4.93 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Po Box 965064                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Synchrony Bank/Walmart                                        Line 4.94 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Po Box 965064                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Synchrony Bank/Walmart                                        Line 4.95 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Po Box 965064                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896
                                                               Last 4 digits of account number



Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 45 of 47
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                              Best Case Bankruptcy
                                   Case 16-20597-AJC                        Doc 1          Filed 07/29/16               Page 65 of 107                                7/29/16 3:04PM

 Debtor 1 Julio Cesar Arroyo
 Debtor 2 Rosalba Arroyo                                                                                  Case number (if know)

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Synchrony Bank/Walmart                                        Line 4.96 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Po Box 965064                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Synchrony Bank/Walmart                                        Line 4.97 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Po Box 965064                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Synchrony Bank/Walmart                                        Line 4.98 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Po Box 965064                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Target                                                        Line 4.99 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 C/O Financial & Retail Services                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Mailstop BT PO Box 9475
 Minneapolis, MN 55440
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Target                                                        Line 4.100 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 C/O Financial & Retail Services                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Mailstop BT PO Box 9475
 Minneapolis, MN 55440
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Target                                                        Line 4.101 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 C/O Financial & Retail Services                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Mailstop BT PO Box 9475
 Minneapolis, MN 55440
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Target                                                        Line 4.102 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 C/O Financial & Retail Services                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Mailstop BT PO Box 9475
 Minneapolis, MN 55440
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Target                                                        Line 4.103 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 C/O Financial & Retail Services                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Mailstop BT PO Box 9475
 Minneapolis, MN 55440
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Target                                                        Line 4.104 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 C/O Financial & Retail Services                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Mailstop BT PO Box 9475
 Minneapolis, MN 55440
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Visa Dept Store National Bank                                 Line 4.108 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 Attn: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Po Box 8053
 Mason, OH 45040
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Visa Dept Store National Bank                                 Line 4.109 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 46 of 47
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                              Best Case Bankruptcy
                                   Case 16-20597-AJC                        Doc 1          Filed 07/29/16                 Page 66 of 107                              7/29/16 3:04PM

 Debtor 1 Julio Cesar Arroyo
 Debtor 2 Rosalba Arroyo                                                                                  Case number (if know)

 Attn: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Po Box 8053
 Mason, OH 45040
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Wells Fargo Auto Finance                                      Line 4.110 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 Attn: Bankruptcy 2nd Floor                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 13675 Technology Dr
 Eden Prairie, MN 55344
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Wells Fargo Dealer Services                                   Line 4.111 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 Po Box 3569                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Rancho Cucamonga, CA 91729
                                                               Last 4 digits of account number


 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                           0.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                           0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                           0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                           0.00

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                           0.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $                    59,141.00

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                    59,141.00




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 47 of 47
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                              Best Case Bankruptcy
                                    Case 16-20597-AJC                       Doc 1   Filed 07/29/16            Page 67 of 107                            7/29/16 3:04PM


 Fill in this information to identify your case:

 Debtor 1                  Julio Cesar Arroyo
                           First Name                         Middle Name            Last Name

 Debtor 2                  Rosalba Arroyo
 (Spouse if, filing)       First Name                         Middle Name            Last Name


 United States Bankruptcy Court for the:               SOUTHERN DISTRICT OF FLORIDA

 Case number
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease                   State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code

     2.1       Roxana M Labrada                                                           Residential Lease: 4855 SW 152 Ct Unit F Miami, FL
               4940 SW 95th Ct                                                            33185
               Miami, FL 33165




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
                                      Case 16-20597-AJC                         Doc 1   Filed 07/29/16     Page 68 of 107                        7/29/16 3:04PM


 Fill in this information to identify your case:

 Debtor 1                   Julio Cesar Arroyo
                            First Name                            Middle Name           Last Name

 Debtor 2                   Rosalba Arroyo
 (Spouse if, filing)        First Name                            Middle Name           Last Name


 United States Bankruptcy Court for the:                 SOUTHERN DISTRICT OF FLORIDA

 Case number
 (if known)                                                                                                                       Check if this is an
                                                                                                                                  amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                        12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                                 Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                          Check all schedules that apply:

    3.1                                                                                                   Schedule D, line
                Name
                                                                                                          Schedule E/F, line
                                                                                                          Schedule G, line
                Number             Street
                City                                      State                          ZIP Code




    3.2                                                                                                   Schedule D, line
                Name
                                                                                                          Schedule E/F, line
                                                                                                          Schedule G, line
                Number             Street
                City                                      State                          ZIP Code




Official Form 106H                                                                  Schedule H: Your Codebtors                                 Page 1 of 1
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                                  Case 16-20597-AJC               Doc 1     Filed 07/29/16             Page 69 of 107                          7/29/16 3:04PM




Fill in this information to identify your case:

Debtor 1                      Julio Cesar Arroyo

Debtor 2                      Rosalba Arroyo
(Spouse, if filing)

United States Bankruptcy Court for the:       SOUTHERN DISTRICT OF FLORIDA

Case number                                                                                              Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                              12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                 Debtor 1                                  Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status*
       information about additional                                   Not employed                               Not employed
       employers.
                                             Occupation             Cook                                      Cleaning
       Include part-time, seasonal, or
       self-employed work.                   Employer's name        Baptist Health                            Self-Employed

       Occupation may include student        Employer's address
                                                                    8900 SW 88th St
       or homemaker, if it applies.
                                                                    Miami, FL 33126

                                             How long employed there?          11 Years                                 6 years
                                                                               *See Attachment for Additional Employment Information

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1        For Debtor 2 or
                                                                                                                           non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.     $        4,147.50       $            0.00

3.     Estimate and list monthly overtime pay.                                              3.    +$             0.00      +$           0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.     $      4,147.50             $      0.00




Official Form 106I                                                      Schedule I: Your Income                                                   page 1
                            Case 16-20597-AJC                 Doc 1         Filed 07/29/16                Page 70 of 107                             7/29/16 3:04PM




Debtor 1    Julio Cesar Arroyo
Debtor 2    Rosalba Arroyo                                                                        Case number (if known)



                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse
      Copy line 4 here                                                                     4.         $      4,147.50       $             0.00

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                 5a.        $        762.03       $                 0.00
      5b.    Mandatory contributions for retirement plans                                  5b.        $          0.00       $                 0.00
      5c.    Voluntary contributions for retirement plans                                  5c.        $          0.00       $                 0.00
      5d.    Required repayments of retirement fund loans                                  5d.        $         96.76       $                 0.00
      5e.    Insurance                                                                     5e.        $        445.22       $                 0.00
      5f.    Domestic support obligations                                                  5f.        $          0.00       $                 0.00
      5g.    Union dues                                                                    5g.        $          0.00       $                 0.00
      5h.    Other deductions. Specify: Pet Assure                                         5h.+       $          6.99 +     $                 0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $          1,311.00       $                 0.00
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          2,836.50       $                 0.00
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $        480.00       $            300.00
      8b. Interest and dividends                                                           8b.        $          0.00       $              0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $              0.00   $                 0.00
      8d. Unemployment compensation                                                        8d.        $              0.00   $                 0.00
      8e. Social Security                                                                  8e.        $              0.00   $                 0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                    0.00   $                 0.00
      8g. Pension or retirement income                                                     8g. $                     0.00   $                 0.00
      8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                 0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $            480.00       $            300.00

10. Calculate monthly income. Add line 7 + line 9.                                     10. $              3,316.50 + $          300.00 = $            3,616.50
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                        0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                        12.    $           3,616.50
                                                                                                                                         Combined
                                                                                                                                         monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                          page 2
                        Case 16-20597-AJC      Doc 1    Filed 07/29/16             Page 71 of 107      7/29/16 3:04PM




Debtor 1   Julio Cesar Arroyo
Debtor 2   Rosalba Arroyo                                                     Case number (if known)




                                                Official Form B 6I
                                Attachment for Additional Employment Information

Debtor
Occupation             Part-time Cleaning
Name of Employer       Self Employed
How long employed      6 Months
Address of Employer




Official Form 106I                                  Schedule I: Your Income                               page 3
                               Case 16-20597-AJC                     Doc 1         Filed 07/29/16           Page 72 of 107                            7/29/16 3:04PM




Fill in this information to identify your case:

Debtor 1                 Julio Cesar Arroyo                                                                Check if this is:
                                                                                                               An amended filing
Debtor 2                 Rosalba Arroyo                                                                        A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF FLORIDA                                               MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                   12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?

                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s     Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age             live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                            Son                                  12                   Yes
                                                                                                                                             No
                                                                                   Son                                  14                   Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                             1,400.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                                 0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                                 0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                                 0.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                                 0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                                 0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                             page 1
                             Case 16-20597-AJC                      Doc 1         Filed 07/29/16              Page 73 of 107                               7/29/16 3:04PM




Debtor 1     Julio Cesar Arroyo
Debtor 2     Rosalba Arroyo                                                                            Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                                     6a.   $                               240.00
      6b. Water, sewer, garbage collection                                                                   6b.   $                                40.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                                     6c.   $                                 0.00
      6d. Other. Specify: cell phone                                                                         6d.   $                               120.00
             Phonelandline                                                                                         $                                40.00
             Cable TV                                                                                              $                               100.00
             Internet                                                                                              $                                40.00
7.    Food and housekeeping supplies                                                           7.                  $                               900.00
8.    Childcare and children’s education costs                                                 8.                  $                                 0.00
9.    Clothing, laundry, and dry cleaning                                                      9.                  $                               200.00
10.   Personal care products and services                                                    10.                   $                               125.00
11.   Medical and dental expenses                                                            11.                   $                                10.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 225.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 100.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  199.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                       $                     3,739.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                               $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                  $                     3,739.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               3,616.50
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              3,739.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                -122.50

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
                                      Case 16-20597-AJC                   Doc 1    Filed 07/29/16          Page 74 of 107                            7/29/16 3:04PM




 Fill in this information to identify your case:

 Debtor 1                    Julio Cesar Arroyo
                             First Name                     Middle Name             Last Name

 Debtor 2                    Rosalba Arroyo
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF FLORIDA

 Case number
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Julio Cesar Arroyo                                                    X   /s/ Rosalba Arroyo
              Julio Cesar Arroyo                                                        Rosalba Arroyo
              Signature of Debtor 1                                                     Signature of Debtor 2

              Date       July 29, 2016                                                  Date    July 29, 2016




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
                                    Case 16-20597-AJC                      Doc 1        Filed 07/29/16             Page 75 of 107                           7/29/16 3:04PM




 Fill in this information to identify your case:

 Debtor 1                  Julio Cesar Arroyo
                           First Name                       Middle Name                  Last Name

 Debtor 2                  Rosalba Arroyo
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF FLORIDA

 Case number
 (if known)                                                                                                                                  Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                4/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                  Dates Debtor 1             Debtor 2 Prior Address:                              Dates Debtor 2
                                                                 lived there                                                                     lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

 From January 1 of current year until                 Wages, commissions,                       $29,690.00           Wages, commissions,                  $2,100.00
 the date you filed for bankruptcy:                                                                                bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
                                   Case 16-20597-AJC                       Doc 1        Filed 07/29/16             Page 76 of 107                               7/29/16 3:04PM

 Debtor 1      Julio Cesar Arroyo
 Debtor 2      Rosalba Arroyo                                                                              Case number (if known)


                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income                  Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.              (before deductions
                                                                                    exclusions)                                                       and exclusions)

 For last calendar year:                              Wages, commissions,                       $44,708.00           Wages, commissions,                            $0.00
 (January 1 to December 31, 2015 )                                                                                 bonuses, tips
                                                   bonuses, tips
                                                       Operating a business                                           Operating a business


 For the calendar year before that:                   Wages, commissions,                       $43,279.00           Wages, commissions,                            $0.00
 (January 1 to December 31, 2014 )                                                                                 bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income                  Gross income
                                                   Describe below.                  each source                    Describe below.                    (before deductions
                                                                                    (before deductions and                                            and exclusions)
                                                                                    exclusions)

 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
           No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                          No.      Go to line 7.
                          Yes    List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                          No.      Go to line 7.
                          Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe
       Synchony Bank/Brandsmart                                  90 days period                   $750.00            $8,898.00             Mortgage
       POB 960061                                                (two credit cards)                                                        Car
       Orlando, FL 32896-0061
                                                                                                                                           Credit Card
                                                                                                                                           Loan Repayment
                                                                                                                                           Suppliers or vendors
                                                                                                                                           Other




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                           page 2
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
                                   Case 16-20597-AJC                      Doc 1         Filed 07/29/16             Page 77 of 107                          7/29/16 3:04PM

 Debtor 1      Julio Cesar Arroyo
 Debtor 2      Rosalba Arroyo                                                                              Case number (if known)


7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                                Dates of payment            Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                                Dates of payment            Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe       Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                                Nature of the case         Court or agency                          Status of the case
       Case number

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                 Describe the Property                                        Date                        Value of the
                                                                                                                                                             property
                                                                 Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                 Describe the action the creditor took                        Date action was                Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                    Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:


Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
                                   Case 16-20597-AJC                      Doc 1         Filed 07/29/16             Page 78 of 107                        7/29/16 3:04PM

 Debtor 1      Julio Cesar Arroyo
 Debtor 2      Rosalba Arroyo                                                                              Case number (if known)


14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                Describe what you contributed                            Dates you                       Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your       Value of property
       how the loss occurred                                Include the amount that insurance has paid. List pending          loss                            lost
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Timothy S Kingcade, Esq.                                      Attorney's fees $2,000                                   07/2016                   $2,575.00
       Kingcade, Garcia, McMaken, PA                                 Court filing fees $335
       1370 Coral Way                                                Office cost $65
       Miami, FL 33145                                               Credit report cost $125
                                                                     Budget briefing session $30
                                                                     Accurint report $20


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
            No
            Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or        Date transfer was
       Address                                                       property transferred                       payments received or debts      made
                                                                                                                paid in exchange
       Person's relationship to you




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 4
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                                   Case 16-20597-AJC                       Doc 1           Filed 07/29/16          Page 79 of 107                    7/29/16 3:04PM

 Debtor 1      Julio Cesar Arroyo
 Debtor 2      Rosalba Arroyo                                                                               Case number (if known)


19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                     Date Transfer was
                                                                                                                                           made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
         No
            Yes. Fill in the details.
       Name of Financial Institution and                         Last 4 digits of             Type of account or        Date account was        Last balance
       Address (Number, Street, City, State and ZIP              account number               instrument                closed, sold,       before closing or
       Code)                                                                                                            moved, or                    transfer
                                                                                                                        transferred
       Bank of America                                           XXXX-9852                        Checking              05/2016                           $0.00
       PO BOX 982235                                                                              Savings
       El Paso, TX 79998
                                                                                                  Money Market
                                                                                                  Brokerage
                                                                                                  Other


21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?             Describe the contents            Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                          have it?
                                                                     State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access             Describe the contents            Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                  have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

       Extra Space Storage                                           Debtors' only                          Christmas decorations               No
       9015 SW 127th Ave                                                                                    About $100 worth                    Yes
       Miami, FL 33186


 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                 Describe the property                         Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 5
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                            Best Case Bankruptcy
                                   Case 16-20597-AJC                      Doc 1            Filed 07/29/16              Page 80 of 107                        7/29/16 3:04PM

 Debtor 1      Julio Cesar Arroyo
 Debtor 2      Rosalba Arroyo                                                                                   Case number (if known)


 Part 10:     Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                    Court or agency                            Nature of the case                   Status of the
       Case Number                                                   Name                                                                            case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                A member of a limited liability company (LLC) or limited liability partnership (LLP)

                A partner in a partnership

                An officer, director, or managing executive of a corporation

                An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.

            Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                             Describe the nature of the business                 Employer Identification number
       Address                                                                                                       Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)                Name of accountant or bookkeeper
                                                                                                                     Dates business existed
       Self-Employed (H)                                         cleaning                                            EIN:

                                                                                                                     From-To    01/201 to present




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 6
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                                    Case 16-20597-AJC                     Doc 1         Filed 07/29/16             Page 81 of 107                        7/29/16 3:04PM

 Debtor 1      Julio Cesar Arroyo
 Debtor 2      Rosalba Arroyo                                                                              Case number (if known)


        Business Name                                            Describe the nature of the business             Employer Identification number
        Address                                                                                                  Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)               Name of accountant or bookkeeper
                                                                                                                 Dates business existed
        Self-Employed (w)                                        Cleaning                                        EIN:

                                                                                                                 From-To      2010 to present


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

             No
             Yes. Fill in the details below.
        Name                                                     Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Julio Cesar Arroyo                                                  /s/ Rosalba Arroyo
 Julio Cesar Arroyo                                                      Rosalba Arroyo
 Signature of Debtor 1                                                   Signature of Debtor 2

 Date      July 29, 2016                                                 Date     July 29, 2016

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                  . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 7
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                                   Case 16-20597-AJC                      Doc 1     Filed 07/29/16           Page 82 of 107                   7/29/16 3:04PM




 Fill in this information to identify your case:

 Debtor 1                 Julio Cesar Arroyo
                          First Name                        Middle Name              Last Name

 Debtor 2                 Rosalba Arroyo
 (Spouse if, filing)      First Name                        Middle Name              Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF FLORIDA

 Case number
 (if known)                                                                                                                    Check if this is an
                                                                                                                               amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                  12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         Syncb/brandsmart                                     Surrender the property.                           No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a              Yes
    Description of       1 Computer, 2 gaming systems                       Reaffirmation Agreement.
    property             Secured with Synch/brandsmart                      Retain the property and [explain]:
    securing debt:       for $8,898
                         (including other items, no
                         longer in possession of
                         Debtors)
                         To Be Redeemed


    Creditor's         Syncb/brandsmart                                     Surrender the property.                           No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a              Yes
    Description of       1 Computer, 2 gaming systems                       Reaffirmation Agreement.
    property             Secured with Synch/brandsmart                      Retain the property and [explain]:
    securing debt:       for $8,898
                         (including other items, no
                         longer in possession of
                         Debtors)
                         To Be Redeemed


Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                page 1

Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy
                                   Case 16-20597-AJC                    Doc 1       Filed 07/29/16          Page 83 of 107                           7/29/16 3:04PM




 Debtor 1      Julio Cesar Arroyo
 Debtor 2      Rosalba Arroyo                                                                        Case number (if known)



 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                             Will the lease be assumed?

 Lessor's name:               Roxana M Labrada                                                                                   No

                                                                                                                                 Yes

 Description of leased        Residential Lease: 4855 SW 152 Ct Unit F Miami, FL 33185
 Property:



 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Julio Cesar Arroyo                                                       X /s/ Rosalba Arroyo
       Julio Cesar Arroyo                                                              Rosalba Arroyo
       Signature of Debtor 1                                                           Signature of Debtor 2

       Date        July 29, 2016                                                    Date    July 29, 2016




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                     page 2

Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
                                   Case 16-20597-AJC                 Doc 1      Filed 07/29/16         Page 84 of 107                   7/29/16 3:04PM




Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $75      administrative fee

        Your debts are primarily consumer debts.                                          +        $15      trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                    $335      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                       repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                   for family farmers or                                                  certain kinds of improper conduct described in the
                   fishermen                                                              Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                           You should know that even if you file chapter 7 and
                   income                                                                 you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 1
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                Best Case Bankruptcy
                                   Case 16-20597-AJC                 Doc 1      Filed 07/29/16           Page 85 of 107                      7/29/16 3:04PM




        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
 You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
 Monthly Income (Official Form 122A–1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                      proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +          $550    administrative fee
 Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,717    total fee
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 2
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                   Case 16-20597-AJC                 Doc 1      Filed 07/29/16          Page 86 of 107                       7/29/16 3:04PM



        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
             or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200        filing fee                                                 years or 5 years, depending on your income and other
 +                  $75         administrative fee                                        factors.
                   $275        total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235        filing fee                                                        debts for fraud or defalcation while acting in a
 +                  $75        administrative fee                                                fiduciary capacity,
                   $310        total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 3
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
                                   Case 16-20597-AJC                 Doc 1      Filed 07/29/16          Page 87 of 107                      7/29/16 3:04PM



                                                                                          A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint
 s.html#procedure.                                                                        case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
                                                                                          days before you file your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                              briefing is usually conducted by telephone or on the
                                                                                          Internet.
        If you knowingly and fraudulently conceal assets
        or make a false oath or statement under penalty                                   In addition, after filing a bankruptcy case, you generally
        of perjury—either orally or in writing—in                                         must complete a financial management instructional
        connection with a bankruptcy case, you may be                                     course before you can receive a discharge. If you are
        fined, imprisoned, or both.                                                       filing a joint case, both spouses must complete the
                                                                                          course.
        All information you supply in connection with a
        bankruptcy case is subject to examination by the                                  You can obtain the list of agencies approved to provide
        Attorney General acting through the Office of the                                 both the briefing and the instructional course from:
        U.S. Trustee, the Office of the U.S. Attorney, and                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html
        other offices and employees of the U.S.                                           .
        Department of Justice.
                                                                                          In Alabama and North Carolina, go to:
 Make sure the court has your mailing address                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                          BankruptcyResources/ApprovedCredit
 The bankruptcy court sends notices to the mailing                                        AndDebtCounselors.aspx.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 4
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
                                   Case 16-20597-AJC                    Doc 1     Filed 07/29/16    Page 88 of 107              7/29/16 3:04PM




                                                               United States Bankruptcy Court
                                                                     Southern District of Florida
            Julio Cesar Arroyo
 In re      Rosalba Arroyo                                                                            Case No.
                                                                                  Debtor(s)           Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



 Date: July 29, 2016                                                   /s/ Julio Cesar Arroyo
                                                                       Julio Cesar Arroyo
                                                                       Signature of Debtor

 Date: July 29, 2016                                                   /s/ Rosalba Arroyo
                                                                       Rosalba Arroyo
                                                                       Signature of Debtor




Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                        Best Case Bankruptcy
    Case 16-20597-AJC   Doc 1   Filed 07/29/16   Page 89 of 107


}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




             Amex
             P.o. Box 981537
             El Paso, TX 79998


             Amex
             Correspondence
             Po Box 981540
             El Paso, TX 79998


             Bank Of America
             Po Box 982238
             El Paso, TX 79998


             Bank Of America
             Po Box 982238
             El Paso, TX 79998


             Bank Of America
             Po Box 982238
             El Paso, TX 79998


             Bank Of America
             Po Box 982238
             El Paso, TX 79998


             Bank Of America
             Nc4-105-03-14
             Po Box 26012
             Greensboro, NC 27410


             Bank Of America
             Nc4-105-03-14
             Po Box 26012
             Greensboro, NC 27410


             Bank Of America
             Nc4-105-03-14
             Po Box 26012
             Greensboro, NC 27410


             Bank Of America
             Nc4-105-03-14
             Po Box 26012
             Greensboro, NC 27410
Case 16-20597-AJC   Doc 1   Filed 07/29/16   Page 90 of 107



         Barclays Bank Delaware
         Po Box 8803
         Wilmington, DE 19899


         Barclays Bank Delaware
         Po Box 8803
         Wilmington, DE 19899


         Barclays Bank Delaware
         Po Box 8801
         Wilmington, DE 19899


         Barclays Bank Delaware
         Po Box 8801
         Wilmington, DE 19899


         Cap1/biglt
         Po Box 703
         Wood Dale, IL 60191


         Cap1/bstby
         Po Box 30253
         Salt Lake City, UT 84130


         Capital One
         15000 Capital One Dr
         Richmond, VA 23238


         Capital One
         15000 Capital One Dr
         Richmond, VA 23238


         Capital One
         15000 Capital One Dr
         Richmond, VA 23238


         Capital One
         Po Box 30285
         Po Box 62180
         Salt Lake City, UT 84130


         Capital One
         Po Box 30285
         Po Box 62180
         Salt Lake City, UT 84130
Case 16-20597-AJC   Doc 1   Filed 07/29/16   Page 91 of 107



         Capital One
         Po Box 30285
         Po Box 62180
         Salt Lake City, UT 84130


         Chase Card Services
         Po Box 15298
         Wilmington, DE 19850


         Chase Card Services
         Attn: Correspondence Dept
         Po Box 15298
         Wilmington, DE 19850


         Checksystems
         7805 Hudson Rd
         Saint Paul, MN 55125


         Checksystems
         7805 Hudson Rd
         Saint Paul, MN 55125


         Child Support Enforcement
         PO Box 8030
         Tallahassee, FL 32314


         Child Support Enforcemment
         PO Box 8030
         Tallahassee, FL 32314


         Citibank / Sears
         Po Box 6282
         Sioux Falls, SD 57117


         Citibank / Sears
         Po Box 6282
         Sioux Falls, SD 57117


         Citibank / Sears
         Citicorp Credit Services/Attn: Centraliz
         Po Box 790040
         Saint Louis, MO 63179
Case 16-20597-AJC   Doc 1   Filed 07/29/16   Page 92 of 107



         Citibank / Sears
         Citicorp Credit Services/Attn: Centraliz
         Po Box 790040
         Saint Louis, MO 63179


         Citibank Sears
         Po Box 6189
         Sioux Falls, SD 57117


         Citibank Sears
         Po Box 6189
         Sioux Falls, SD 57117


         Citibank Sears
         Citicorp Credit Srvs/Centralized Bankrup
         Po Box 790040
         Saint Louis, MO 63179


         Citibank Sears
         Citicorp Credit Srvs/Centralized Bankrup
         Po Box 790040
         Saint Louis, MO 63179


         Citibank/Best Buy
         50 Northwest Point Road
         Elk Grove Village, IL 60007


         Citibank/Best Buy
         Pob 6241
         Sioux Falls, SD 57117


         Citibank/Best Buy
         50 Northwest Point Road
         Elk Grove Village, IL 60007


         Citibank/Best Buy
         Po Box 30253
         Salt Lake City, UT 84130


         Citibank/Best Buy
         Centalized Bankruptcy/Citicorp Credit Se
         Po Box 790040
         Sanit Louis, MO 63179
Case 16-20597-AJC   Doc 1   Filed 07/29/16   Page 93 of 107



         Citibank/Best Buy
         Centralized Bankruptcy/CitiCorp Credit S
         Po Box 790040
         St Louis, MO 63179


         Citibank/Best Buy
         Centalized Bankruptcy/Citicorp Credit Se
         Po Box 790040
         Sanit Louis, MO 63179


         Citibank/Best Buy
         Centralized Bankruptcy/CitiCorp Credit S
         Po Box 790040
         St Louis, MO 63179


         Citibank/Exxon Mobile
         Po Box 6497
         Sioux Falls, SD 57117


         Citibank/Exxon Mobile
         Citicorp Cr Srvs/Centralized Bankruptcy
         Po Box 790040
         S Louis, MO 63129


         Citibank/The Home Depot
         Po Box 6497
         Sioux Falls, SD 57117


         Citibank/The Home Depot
         Po Box 6497
         Sioux Falls, SD 57117


         Citibank/The Home Depot
         Po Box 6497
         Sioux Falls, SD 57117


         Citibank/The Home Depot
         Citicorp Cr Srvs/Centralized Bankruptcy
         Po Box 790040
         S Louis, MO 63129


         Citibank/The Home Depot
         Citicorp Cr Srvs/Centralized Bankruptcy
         Po Box 790040
         S Louis, MO 63129
Case 16-20597-AJC   Doc 1   Filed 07/29/16   Page 94 of 107



         Citibank/The Home Depot
         Citicorp Cr Srvs/Centralized Bankruptcy
         Po Box 790040
         S Louis, MO 63129


         Comenity Bank/Marathon
         Po Box 182789
         Columbus, OH 43218


         Comenity Bank/Marathon
         Po Box 182125
         Columbus, OH 43218


         Comenity Bank/Sizes
         Po Box 182789
         Columbus, OH 43218


         Comenity Bank/Sizes
         Po Box 182125
         Columbus, OH 43218


         Comenitycapital/bjsclb
         Po Box 182120
         Columbus, OH 43218


         Comenitycapital/bjsclb
         Comenity Bank
         Po Box 182125
         Columbus, OH 43218


         Comenitycb/el Dorado
         3100 Easton Square Pl
         Columbus, OH 43219


         Comenitycb/el Dorado
         Comenity Bank
         Po Box 182125
         Columbus, OH 43218


         Department of the Treasury
         Po Box 21126
         Philadelphia, PA 19114
Case 16-20597-AJC   Doc 1   Filed 07/29/16   Page 95 of 107



         Department Of The Treasury
         PO Box 21126
         Philadelphia, PA 19114-0326


         Equifax
         Po Box 740241
         Atlanta, GA 30374


         Equifax
         PO Box 740241
         Atlanta, GA 30374


         Experian
         Po Box 2002
         Allen, TX 75013


         Experian
         PO Box 2002
         Allen, TX 75013


         First Premier Bank
         3820 N Louise Ave
         Sioux Falls, SD 57107


         First Premier Bank
         601 S Minneapolis Ave
         Sioux Falls, SD 57104


         Florida Department Of Revenue
         5050 W Tennessee St
         Tallahassee, FL 32399-0110


         Florida Department Of Revenue
         5050 W Tennessee St
         Tallahassee, FL 32399-0110


         Ford Credit
         26525 N Riverwoods Blvd
         Mettawa, IL 60045


         Ford Credit
         Po Box 30253
         Salt Lake City, UT 84130
Case 16-20597-AJC   Doc 1   Filed 07/29/16   Page 96 of 107



         Ford Credit
         National Bankrupcy Service Center
         Po Box 62180
         Colorado Springs, CO 80962


         Ford Credit
         National Bankrupcy Service Center
         Po Box 62180
         Colorado Springs, CO 80962


         IRS Centralized Bankruptcy Department
         POB 7346
         Philadelphia, PA 19101-7346


         IRS Centralized Bankruptcy Department
         POB 7346
         Philadelphia, PA 19101-7346


         Kohls/Capital One
         N56 W 17000 Ridgewood Dr
         Menomonee Falls, WI 53051


         Kohls/Capital One
         N56 W 17000 Ridgewood Dr
         Menomonee Falls, WI 53051


         Kohls/Capital One
         Po Box 3120
         Milwaukee, WI 53201


         Kohls/Capital One
         Po Box 3120
         Milwaukee, WI 53201


         Nmac
         Po Box 660360
         Dallas, TX 75266


         NTB/CBSD
         Po Box 6497
         Sioux Falls, SD 57117
Case 16-20597-AJC   Doc 1   Filed 07/29/16   Page 97 of 107



         NTB/CBSD
         CitiCards Private Label Centralized Bank
         Po Box 790040
         Saint Louis, MO 63179


         Radio Shack/Citibank
         Po Box 6497
         Sioux Falls, SD 57117


         Radio Shack/Citibank
         Citicorp/Centralized Bankruptcy
         Po Box 790040
         Saint Louis, MO 63179


         Roxana M Labrada
         4940 SW 95th Ct
         Miami, FL 33165


         Santander Consumer USA
         8585 North Stemmons Fwy
         Dallas, TX 75247


         Santander Consumer USA
         Po Box 961245
         Fort Worth, TX 76161


         Stpc/cbsd
         Po Box 6497
         Sioux Falls, SD 57117


         Stpc/cbsd
         Po Box 6497
         Sioux Falls, SD 57117


         Stpc/cbsd
         CitiCards Private Label Bankruptcy
         Po Box 20483
         Kansas City, MO 64195


         Stpc/cbsd
         CitiCards Private Label Bankruptcy
         Po Box 20483
         Kansas City, MO 64195
Case 16-20597-AJC   Doc 1   Filed 07/29/16   Page 98 of 107



         Syncb/brandsmart
         Po Box 965036
         Orlando, FL 32896


         Syncb/brandsmart
         Po Box 965036
         Orlando, FL 32896


         Syncb/brandsmart
         Po Box 965036
         Orlando, FL 32896


         Syncb/brandsmart
         Po Box 965036
         Orlando, FL 32896


         Syncb/brmart
         Po Box 965036
         Orlando, FL 32896


         Syncb/HH Gregg
         C/o Po Box 965036
         Orlando, FL 32896


         Syncb/Rooms To Go
         Po Box 965036
         Orlando, FL 32896


         Syncb/Rooms To Go
         Attn: Bankruptcy
         Po Box 103104
         Roswell, GA 30076


         Syncb/toysrus
         Po Box 965005
         Orlando, FL 32896


         Syncb/toysrus
         Po Box 965005
         Orlando, FL 32896


         Syncb/toysrus
         Attn: Bankrupty
         Po Box 103104
         Roswell, GA 30076
Case 16-20597-AJC   Doc 1   Filed 07/29/16   Page 99 of 107



         Syncb/toysrus
         Attn: Bankrupty
         Po Box 103104
         Roswell, GA 30076


         Synchrony Bank/ JC Penneys
         Po Box 965007
         Orlando, FL 32896


         Synchrony Bank/ JC Penneys
         Po Box 965007
         Orlando, FL 32896


         Synchrony Bank/ JC Penneys
         Po Box 965007
         Orlando, FL 32896


         Synchrony Bank/ JC Penneys
         Po Box 965007
         Orlando, FL 32896


         Synchrony Bank/ JC Penneys
         Po Box 965007
         Orlando, FL 32896


         Synchrony Bank/ JC Penneys
         Po Box 965007
         Orlando, FL 32896


         Synchrony Bank/ JC Penneys
         Po Box 965064
         Orlando, FL 32896


         Synchrony Bank/ JC Penneys
         Po Box 965064
         Orlando, FL 32896


         Synchrony Bank/ JC Penneys
         Po Box 965064
         Orlando, FL 32896


         Synchrony Bank/ JC Penneys
         Po Box 965064
         Orlando, FL 32896
Case 16-20597-AJC   Doc 1   Filed 07/29/16   Page 100 of 107



          Synchrony Bank/ JC Penneys
          Po Box 965064
          Orlando, FL 32896


          Synchrony Bank/ JC Penneys
          Po Box 965064
          Orlando, FL 32896


          Synchrony Bank/ Old Navy
          Po Box 965005
          Orlando, FL 32896


          Synchrony Bank/ Old Navy
          Po Box 965005
          Orlando, FL 32896


          Synchrony Bank/ Old Navy
          Po Box 965005
          Orlando, FL 32896


          Synchrony Bank/ Old Navy
          Po Box 965064
          Orlando, FL 32896


          Synchrony Bank/ Old Navy
          Po Box 965064
          Orlando, FL 32896


          Synchrony Bank/ Old Navy
          Po Box 965064
          Orlando, FL 32896


          Synchrony Bank/Car Care One
          C/o Po Box 965036
          Orlando, FL 32896


          Synchrony Bank/Car Care One
          C/o Po Box 965036
          Orlando, FL 32896


          Synchrony Bank/Car Care One
          Po Box 965064
          Orlando, FL 32896
Case 16-20597-AJC   Doc 1   Filed 07/29/16   Page 101 of 107



          Synchrony Bank/Care Credit
          950 Forrer Blvd
          Kettering, OH 45420


          Synchrony Bank/Care Credit
          Po Box 965064
          Orlando, FL 32896


          Synchrony Bank/HH Gregg
          C/o P.o. Box 965036
          Orlando, FL 32896


          Synchrony Bank/Kirklands
          Po Box 965005
          Orlando, FL 32896


          Synchrony Bank/Kirklands
          Po Box 965064
          Orlando, FL 32896


          Synchrony Bank/Lowes
          Po Box 965005
          Orlando, FL 32896


          Synchrony Bank/Lowes
          Po Box 965005
          Orlando, FL 32896


          Synchrony Bank/Lowes
          Po Box 965005
          Orlando, FL 32896


          Synchrony Bank/Lowes
          Po Box 965064
          Orlando, FL 32896


          Synchrony Bank/Lowes
          Po Box 965064
          Orlando, FL 32896


          Synchrony Bank/Lowes
          Po Box 965064
          Orlando, FL 32896
Case 16-20597-AJC   Doc 1   Filed 07/29/16   Page 102 of 107



          Synchrony Bank/Pep Boys
          C/o Po Box 965036
          Orlando, FL 32896


          Synchrony Bank/Pep Boys
          Po Box 965064
          Orlando, FL 32896


          Synchrony Bank/Sams
          Po Box 965005
          Orlando, FL 32896


          Synchrony Bank/Sams
          Po Box 965005
          Orlando, FL 32896


          Synchrony Bank/Sams
          Po Box 965005
          Orlando, FL 32896


          Synchrony Bank/Sams
          Po Box 965005
          Orlando, FL 32896


          Synchrony Bank/Sams
          Po Box 965005
          Orlando, FL 32896


          Synchrony Bank/Sams
          Po Box 965005
          Orlando, FL 32896


          Synchrony Bank/Sams
          Po Box 965005
          Orlando, FL 32896


          Synchrony Bank/Sams
          Po Box 965064
          Orlando, FL 32896


          Synchrony Bank/Sams
          Po Box 965064
          Orlando, FL 32896
Case 16-20597-AJC   Doc 1   Filed 07/29/16   Page 103 of 107



          Synchrony Bank/Sams
          Po Box 965064
          Orlando, FL 32896


          Synchrony Bank/Sams
          Po Box 965064
          Orlando, FL 32896


          Synchrony Bank/Sams
          Po Box 965064
          Orlando, FL 32896


          Synchrony Bank/Sams
          Po Box 965064
          Orlando, FL 32896


          Synchrony Bank/Sams
          Po Box 965064
          Orlando, FL 32896


          Synchrony Bank/TJX
          Po Box 965015
          Orlando, FL 32896


          Synchrony Bank/TJX
          Po Box 965015
          Orlando, FL 32896


          Synchrony Bank/TJX
          Po Box 965064
          Orlando, FL 32896


          Synchrony Bank/TJX
          Po Box 965064
          Orlando, FL 32896


          Synchrony Bank/Walmart
          Po Box 965024
          Orlando, FL 32896


          Synchrony Bank/Walmart
          Po Box 965024
          Orlando, FL 32896
Case 16-20597-AJC   Doc 1   Filed 07/29/16   Page 104 of 107



          Synchrony Bank/Walmart
          Po Box 965024
          El Paso, TX 79998


          Synchrony Bank/Walmart
          Po Box 965024
          El Paso, TX 79998


          Synchrony Bank/Walmart
          Po Box 965024
          El Paso, TX 79998


          Synchrony Bank/Walmart
          Po Box 965024
          El Paso, TX 79998


          Synchrony Bank/Walmart
          Po Box 965024
          El Paso, TX 79998


          Synchrony Bank/Walmart
          Po Box 965024
          El Paso, TX 79998


          Synchrony Bank/Walmart
          Po Box 965024
          El Paso, TX 79998


          Synchrony Bank/Walmart
          Po Box 965024
          Orlando, FL 32896


          Synchrony Bank/Walmart
          Po Box 965064
          Orlando, FL 32896


          Synchrony Bank/Walmart
          Po Box 965064
          Orlando, FL 32896


          Synchrony Bank/Walmart
          Po Box 965064
          Orlando, FL 32896
Case 16-20597-AJC   Doc 1   Filed 07/29/16   Page 105 of 107



          Synchrony Bank/Walmart
          Po Box 965064
          Orlando, FL 32896


          Synchrony Bank/Walmart
          Po Box 965064
          Orlando, FL 32896


          Synchrony Bank/Walmart
          Po Box 965064
          Orlando, FL 32896


          Synchrony Bank/Walmart
          Po Box 965064
          Orlando, FL 32896


          Synchrony Bank/Walmart
          Po Box 965064
          Orlando, FL 32896


          Synchrony Bank/Walmart
          Po Box 965064
          Orlando, FL 32896


          Synchrony Bank/Walmart
          Po Box 965064
          Orlando, FL 32896


          Target
          Po Box 673
          Minneapolis, MN 55440


          Target
          Po Box 673
          Minneapolis, MN 55440


          Target
          Po Box 673
          Minneapolis, MN 55440


          Target
          Po Box 673
          Minneapolis, MN 55440
Case 16-20597-AJC   Doc 1   Filed 07/29/16   Page 106 of 107



          Target
          Po Box 673
          Minneapolis, MN 55440


          Target
          Po Box 673
          Minneapolis, MN 55440


          Target
          C/O Financial & Retail Services
          Mailstop BT PO Box 9475
          Minneapolis, MN 55440


          Target
          C/O Financial & Retail Services
          Mailstop BT PO Box 9475
          Minneapolis, MN 55440


          Target
          C/O Financial & Retail Services
          Mailstop BT PO Box 9475
          Minneapolis, MN 55440


          Target
          C/O Financial & Retail Services
          Mailstop BT PO Box 9475
          Minneapolis, MN 55440


          Target
          C/O Financial & Retail Services
          Mailstop BT PO Box 9475
          Minneapolis, MN 55440


          Target
          C/O Financial & Retail Services
          Mailstop BT PO Box 9475
          Minneapolis, MN 55440


          Transunion
          Po Box 1000
          Chester, PA 19016


          Transunion
          PO Box 1000
          Chester, PA 19016-1000
Case 16-20597-AJC   Doc 1   Filed 07/29/16   Page 107 of 107



          Tribute/atlanticus
          Pob 105555
          Atlanta, GA 30348


          Visa Dept Store National Bank
          9111 Duke Blvd
          Mason, OH 45040


          Visa Dept Store National Bank
          9111 Duke Blvd
          Mason, OH 45040


          Visa Dept Store National Bank
          Attn: Bankruptcy
          Po Box 8053
          Mason, OH 45040


          Visa Dept Store National Bank
          Attn: Bankruptcy
          Po Box 8053
          Mason, OH 45040


          Wells Fargo Auto Finance
          Po Box 29704
          Phoenix, AZ 85038


          Wells Fargo Auto Finance
          Attn: Bankruptcy 2nd Floor
          13675 Technology Dr
          Eden Prairie, MN 55344


          Wells Fargo Dealer Services
          Po Box 1697
          Winterville, NC 28590


          Wells Fargo Dealer Services
          Po Box 3569
          Rancho Cucamonga, CA 91729


          Wffnatbank
          Cscl Dispute Tm-mac N8235-04m
          Des Moines, IA 50306
